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 8                               UNITED STATES DISTRICT COURT
 9                          NORTHERN DISTRICT OF CALIFORNIA
10                                    OAKLAND DIVISION
11   IN RE: LITHIUM ION BATTERIES              Case No. 13-md-02420-YGR
     ANTITRUST LITIGATION
12                                             MDL No. 2420
13
     This Document Relates To:                 ORDER GRANTING FINAL APPROVAL
14                                             OF CLASS ACTION SETTLEMENT WITH
        ALL DIRECT PURCHASER ACTIONS           DEFENDANT TOKIN CORPORATION
15
                                               AS MODIFIED BY THE COURT
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       ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT WITH DEFENDANT TOKIN
                             CORPORATION—Case No. 13-md-02420-YGR
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 1          On March 29, 2018, Direct Purchaser Plaintiffs (“Plaintiffs”) filed a Memorandum in

 2   Support of Final Approval of Class Action Settlements, including with Defendant TOKIN

 3   Corporation (“TOKIN”), formerly known as NEC TOKIN Corporation. The Court, having

 4   reviewed the motion for settlement approval, the settlement agreement, the pleadings and other

 5   papers on file in this action, and the statements of counsel and the parties, hereby finds that the

 6   motion should be GRANTED.

 7          NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

 8          1.      The Court has jurisdiction over the subject matter of this litigation, and the Actions

 9   within this litigation and over the parties to the settlement agreement, attached hereto as Exhibit 1,
10   including all members of the settlement class and the Defendants.

11          2.      For purposes of this Order, except as otherwise set forth herein, the Court adopts

12   and incorporates the definitions contained in the settlement agreement, to the extent not

13   contradictory or mutually exclusive.

14          3.      The Court finds that Saveri & Saveri, Inc., Pearson, Simon & Warshaw, LLP, and

15   Berman Tabacco, previously appointed as Class Counsel pursuant to Rule 23(g) of the Federal

16   Rules of Civil Procedure, have and will fairly and competently represent the interests of the

17   settlement class.

18          4.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court certifies the

19   following settlement class only with respect to TOKIN:

20          All persons and entities that purchased a Lithium Ion Battery or Lithium Ion Battery
            Product from any Defendant, or any division, subsidiary or affiliate thereof, or any
21          co-conspirator in the United States during the Class Period, from January 1, 2000
            through May 31, 2011. Excluded from the Class are Defendants, their parent
22
            companies, subsidiaries and affiliates, any Co-Conspirators, federal governmental
23          entities and instrumentalities of the federal government, states and their
            subdivisions, agencies and instrumentalities, and any judge or jurors assigned to this
24          case.
25          5.      The Court further finds that the prerequisites to certifying a settlement class under

26   Rule 23 are satisfied for settlement purposes in that: (a) there are thousands of geographically

27   dispersed settlement class members, making joinder of all members impracticable; (b) there are

28   questions of law and fact common to the settlement class which predominate over individual
                                                         1
        ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT WITH DEFENDANT TOKIN
                              CORPORATION—Case No. 13-md-02420-YGR
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 1   issues; (c) the claims or defenses of the settlement class plaintiffs are typical of the claims or

 2   defenses of the settlement class; (d) the plaintiffs will fairly and adequately protect the interests of

 3   the settlement class, and have retained counsel experienced in antitrust class action litigation who

 4   have, and will continue to, adequately represent the settlement class; and (e) a settlement class

 5   resolution is superior to individual settlements.

 6          6.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, after a hearing, the

 7   Court hereby finally approves and confirms the settlement set forth in the settlement agreement and

 8   finds that said settlement is, in all respects, fair, reasonable and adequate to the settlement class.

 9          7.      This Court hereby dismisses on the merits and with prejudice the Action in favor of
10   Defendant TOKIN, with each party to bear their own costs and attorneys’ fees, except as provided

11   in the settlement agreement.

12          8.      The TOKIN Releasees are hereby and forever released from all Released Claims as

13   defined in the settlement agreement.

14          9.      The notice given to the settlement class, including individual notice to all members

15   of the settlement class who could be identified through reasonable efforts, was the best notice

16   practicable under the circumstances. Said notice provided due and adequate notice of those

17   proceedings and of the matters set forth therein, including the proposed settlement set forth in the

18   settlement agreement, to all persons entitled to such notice, and said notice fully satisfied the

19   requirements of Rule 23, Subdivisions (c)(2) and (e)(1) of the Federal Rules of Civil Procedure

20   and the requirements of due process.

21          10.     Those persons/entities identified in the list attached hereto as Exhibit 2 are validly

22   excluded from the settlement class. Such persons/entities are not entitled to any recovery of the

23   settlement proceeds obtained in connection with the settlement.

24          11.     Any member of the settlement class who failed to timely and validly request to be

25   excluded from the settlement class shall be subject to and bound by the provisions of the

26   settlement agreement, the Released Claims contained therein, and the Final Judgment with respect
27   to all Released Claims, regardless of whether such members of the settlement class seek or obtain

28   any distribution from the Settlement Fund.
                                                          2
        ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT WITH DEFENDANT TOKIN
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 1          12.     Two objections to the settlement were filed. The objections are hereby overruled.

 2          13.     One objection to the Proof of Claim form was filed. The objection is hereby

 3   overruled.

 4          14.     The plan of allocation set forth in the class notice is, in all respects, fair, adequate,

 5   and reasonable. Accordingly, the Court hereby grants final approval of the plan of allocation.

 6          15.     Without affecting the finality of the Judgment in any way, this Court hereby retains

 7   continuing jurisdiction over: (a) implementation of the settlement agreement and any distribution

 8   to settlement class members pursuant to further orders of this Court; (b) disposition of the

 9   Settlement Fund; (c) hearing and determining applications by plaintiffs for attorneys’ fees, costs,
10   expenses, and interest; (d) the Actions until the Final Judgment has become effective and each and

11   every act agreed to be performed by the parties all have been performed pursuant to the settlement

12   agreement; (e) hearing and ruling on any matters relating to the plan of allocation of settlement

13   proceeds; (f) hearing and ruling on any collateral discovery and sanctions matters; and (g) the

14   parties to the settlement agreement for the purpose of enforcing and administering the settlement

15   agreement and the mutual releases contemplated by, or executed in connection with the settlement

16   agreement.

17          16.     In the event that the settlement does not become effective in accordance with the

18   terms of the settlement agreement, then the Judgment shall be rendered null and void and shall be

19   vacated, and in such event, all orders entered and releases delivered in connection herewith shall

20   be null and void and the parties shall be returned to their respective positions ex ante.

21          17.     The Court finds, pursuant to Rule 54(b) of the Federal Rules of Civil Procedure,

22   that Judgment should be entered and further finds that there is no just reason for delay in the entry

23   of Judgment as to the parties to the settlement agreement. Accordingly, the Clerk is hereby

24   directed to enter Judgment forthwith for Defendant TOKIN.

25          IT IS SO ORDERED.

26
27   Dated: _____________________
              May 16, 2018                                   ________________________________
                                                             Hon. Yvonne Gonzalez Rogers
28                                                           United States District Judge
                                                         3
        ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT WITH DEFENDANT TOKIN
                              CORPORATION—Case No. 13-md-02420-YGR
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                  EXHIBIT 2
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In re: Lithium Ion Batteries Antitrust Litigation
Report on Exclusions Received - TOKIN
Wednesday, March 28, 2018

  No.                 Entity                                            Subsidiaries/Affiliates          Postmark
    1   MANAGEMENT TECHNOLOGIES, INC                                                                   1/11/2018
    2   CONSTANCE HUBER                                                                                1/12/2018
    3   MICHAEL AUGUSTINI                                                                              1/13/2018
    4   MARK WATERS                                                                                    1/13/2018
    5   FREY AND CAMPBELL INC                                                                          1/15/2018
    6   MARY JOHNSON                                                                                   1/16/2018
    7   KATHY LOMBARDI                                                                                 1/16/2018
    8   IRA BIRDSONG                                                                                   1/16/2018
    9   MIMI FELLNER                                                                                   1/16/2018
   10   NETTIE LEWIS                                                                                   1/16/2018
   11   GEORGE S GEIGER                                                                                1/16/2018
   12   BARBARA CAMPBELL                                                                               1/17/2018
   13   ROBERT WITTENBORN                                                                              1/17/2018
   14   WAYNE HILCHEN                                                                                  1/17/2018
   15   LINDA GALLAGHER                                                                                1/17/2018
   16   CHARLES WOLLASTON                                                                              1/17/2018
   17   DIANA L THOMAS                                                                                 1/17/2018
   18   COOPER & LINK                                                                                  1/18/2018
   19   JERRY STARK                                                                                    1/18/2018
   20   CRYSTAL ATKINS                                                                                 1/18/2018
   21   MICHAEL FLEISCHER                                                                              1/18/2018
   22   DUANE CLENDANIEL                                                                               1/19/2018
   23   ANDREW BURT                                                                                    1/19/2018
   24   ELAINE T MACCULLOUGH                                                                           1/19/2018
   25   DANIEL ADAMS                                                                                   1/19/2018
   26   PHYSIO-CONTROL, INC.                                                                           1/19/2018
                                           PHYSIO-CONTROL INTERNATIONAL, INC.
                                           PHYSIO-CONTROL MANUFACTURING, INC.

   27   STANLEY BLACK & DECKER, INC.                                                                   1/19/2018
                                           AEROSCOUT LLC
                                           AEROSCOUT (US) LLC
                                           ASIA FASTENING (US) INC
                                           BD ABRASIVE LLC
                                           B&D HOLDINGS LLC
                                           BDK FAUCET HOLDINGS INC
                                           BLACK & DECKER (IRELAND) INC
                                           BLACK & DECKER (US) INC
                                           BLACK & DECKER DE PANAMA LLC
                                           BLACK & DECKER FUNDING CORPORATION
                                           BLACK & DECKER GROUP LLC
                                           BLACK & DECKER HEALTHCARE MANAGEMENT INC
                                           BLACK & DECKER HOLDINGS, LLC
                                           BLACK & DECKER INC
                                           BLACK & DECKER INDIA INC
                                           BLACK & DECKER INVESTMENT COMPANY LLC
                                           BLACK & DECKER INVESTMENTS (AUSTRALIA) LIMITED
                                           BLACK & DECKER INVESTMENTS LLC
                                           BLACK & DECKER MEXFIN LLC
                                           BLACK & DECKER PUERTO RICO INC
                                           BLACK & DECKER SHELBYVILLE, LLC
                                           BOSTITCH-HOLDING, LLC
                                           CLP2 GP, LLC
                                           CRC-EVANS INTERNATIONAL HOLDINGS INC
                                           CRC-EVANS INTERNATIONAL, INC
                                           CRC-EVANS PIPELINE INTERNATIONAL, INC
                                           CRC-EVANS WELDING SERVICES, INC
                                           DEVILBISS AIR POWER COMPANY
                                           EMGLO PRODUCTS, LLC
                                           EMHART HARTTUNG INC
                                           EMHART TEKNOLOGIES LLC
                                           HARDWARE CITY ASSOCIATES LIMITED PARTNERSHIP
                                           INFASTECH DECORAH LLC
                                           INFOLOGIX - DDMS INC
                                           INFOLOGIX SYSTEMS CORPORATION
                                           INFOLOGIX INC
                                           JAFFORD LLC
                                           JENNCOL INC
                                           MICROALLOYING INTERNATIONAL, INC
                                           NEWFREY LLC
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       PACOM SYSTEMS (NORTH AMERICA) INC
       PIH US INC
       PORTER-CABLE ARGENTINA, LLC
       RIGHTCO II, LLC
       SARGENT & GREENLEAF, INC
       SBD CAYMAN LLC
       SBD INSURANCE, INC
       SBD PROPERTY HOLDINGS LLC
       SECURITYCO SOLUTIONS, INC
       SPIRALOCK CORPORATION
       STANLEY ACCESS TECHNOLOGIES LLC
       STANLEY ATLANTIC LLC
       STANLEY BLACK & DECKER CAYMAN HOLDINGS INC
       STANLEY BLACK & DECKER CHILE, LLC
       STANLEY BLACK & DECKER, INC
       STANLEY CANADA HOLDINGS LLC
       STANLEY CONVERGENT SECURITY SOLUTIONS INC
       STANLEY EUROPEAN HOLDINGS, LLC
       STANLEY FASTENING SYSTEMS, LP
       STANLEY HOUSING FUND INC
       STANLEY INDUSTRIAL & AUTOMOTIVE, LLC
       STANLEY INSPECTION L L C
       STANLEY INTERNATIONAL HOLDINGS, INC
       STANLEY INSPECTION US LLC
       STANLEY LOGISTICS LLC
       STANLEY PIPELINE INSPECTION, LLC
       STANLEY SECURITY SOLUTIONS INC
       STANLEY SUPPLY & SERVICES INC
       THE BLACK & DECKER CORPORATION
       THE FARMINGTON RIVER POWER COMPANY
       VIEW TECHNOLOGIES
       ZAG USA, INC
       BLACK & DECKER ARGENTINA SA
       BLACK & DECKER DISTRIBUTION PTY LTD
       BLACK & DECKER FINANCE (AUSTRALIA) LTD
       BLACK & DECKER HOLDINGS (AUSTRALIA) PTY LTD
       BLACK & DECKER NO 4 PTY LTD
       INFASTECH (AUSTRALIA) PTY LIMITED
       PACOM SYSTEMS PTY LIMITED
       POWERS FASTENERS AUSTRALASIA PTY LIMITED
       POWERS FASTENERS AUSTRALIA LIMITED
       POWERS RAWL PTY LTD
       RAWL AUSTRALASIA PTY LTD
       RAWLPLUG UNIT TRUST
       SBDK AUSTRALIA GP
       STANLEY BLACK & DECKER AUSTRALIA PTY LTD
       STANLEY BLACK & DECKER HOLDINGS AUSTRALIA PTY LTD
       STANLEY SECURITY SOLUTIONS AUSTRALIA PTY LTD
       THE STANLEY WORKS PTY LTD
       STANLEY BLACK & DECKER AUSTRIA GMBH
       FACOM BELGIE BVBA
       GENERAL PROTECTION BVBA
       STANLEY BLACK & DECKER BELGIUM BVBA
       STANLEY BLACK & DECKER LATIN AMERICAN HOLDING BVBA
       STANLEY BLACK & DECKER LOGISTICS BVBA
       STANLEY EUROPE BVBA
       STANLEY SECURITY BELGIUM BVBA
       STANLEY SECURITY EUROPE BVBA
       BLACK & DECKER DO BRASIL LTDA
       CRC-EVANS PIH SERVICOS DE TUBULACAO DO BRASIL LTDA
       MHART DO BRASIL LTDA
       REFAL INDUSTRIA C COMERCIO DE REBITES E REBITADEIRAS LTDA
       SPIRALOCK DO BRASIL, LTDA
       CRC-EVANS CANADA LTD
       FIRST NATIONAL ALARMCAP LP/PREMIERE SOCIETE EN COMMANDITC NATIONALE ALARMCAP
       MAC TOOLS CANADA INC
       MICROTEC ENTERPRISES, INC
       MONT-HARD (CANADA) INC
       STANLEY BLACK & DECKER CANADA CORPORATION
       STANLEY CLP2
       STANLEY CLP3
       STANLEY INSPECTION CANADA LTD
       XMARK CORPORATION
       BESCO INVESTMENT GROUP CO LTD
       BLACK & DECKER (CAYMAN) FINANCE LIMITED
       BLACK & DECKER MANUFACTURING, DISTRIBUTION & GLOBAL PURCHASING HOLDINGS LP
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       CHIRO (CAYMAN) HOLDINGS LTD
       JOINTECH CORPORATION LTD
       SBD HOLDINGS CAYMAN, LP
       WINTECH CORPORATION LIMITED
       MAQUINAS Y HERRAMIENTAS BLACK & DECKER DE CHILE SA
       ANZI MASTERFIX TOOL LIMITED LIABILITY COMPANY
       BESCO MACHINERY INDUSTRY (ZHEJIANG) CO LTD
       BLACK & DECKER (SUZHOU) CO, LTD
       BLACK & DECKER (SUZHOU) POWER TOOLS CO LTD
       BLACK & DECKER (SUZHOU) PRECISION MANUFACTURING CO, LTD
       BLACK & DECKER ASIA BASED ENTERPRISES
       BLACK & DECKER SSC CO LTD
       GUANGZHOU EMHART FASTENING SYSTEM CO, LTD
       HEFEI INTACA SCIENCE & TECHNOLOGY DEVELOPMENT CO, LTD
       INFASTECH (SHENZHEN) LIMITED
       INFASTECH FASTENING SYSTEMS (WUXI) LIMITED
       JIANGSU GUOQIANG TOOLS CO, LTD
       JIANGSU TONGFENG HARDWARE CO, LTD
       POWERS SHANGHAI TRADING LTD
       QUINGDAO SUNGUN POWER TOOL CO LTD
       SHANGHAI EASTERN IRON HARDWARE CO, LTD
       STANLEY BLACK & DECKER PRECISION MANUFACTURING (SHENZHEN) CO LTD
       SHANGHAI EMHART FASTENING SYSTEMS LTD
       STANLEY GMT HARDWARE CO, LTD
       STANLEY WORKS(WENDCNG) TOOLS CO LTD
       THE STANLEY WORKS (LANGFANG) FASTENING SYSTEMS CO, LTD
       THE STANLEY WORKS (SHANGHAI) CO LTD
       THE STANLEY WORKS (SHANGHAI) MANAGEMENT CO LTD
       THE STANLEY WORKS (ZHEJIANG) INDUSTRIAL TOOLS CO LTD
       THE STANLEY WORKS (ZHONGSHAN) TOOL CO, LTD
       BLACK & DECKER DE COLOMBIA SAS
       BLACK AND DECKER DE COSTA RICA LIMITADA
       BLACK & DECKER (CZECH) SRO
       STANLEY BLACK & DECKER CZECH REPUBLIC SRO
       TUCKER SRO
       EMHART HARTTUNG AS
       STANLEY SECURITY DENMARK APS
       BLACK & DECKER DEL ECUADOR SA
       STANLEY BLACK & DECKER FINLAND OY
       STANLEY SECURITY OY
       AVDEL FRANCE SAS
       BGI DISTRIBUTION SAS
       BLACK & DECKER FINANCE SAS
       BOST GARNACHE INDUSTRIES SAS
       DUBUIS ET CIE SAS
       EMHART FASTENING & ASSEMBLY SNC
       FACOM HOLDING SAS
       FACOM SAS
       NOVIA SWK SAS
       PIOLE PAROLAI EQUIPEMENT SAS
       PRO ONE FINANCE SAS
       SOCIETE MINIERE ET COMMERCIALE SAS
       STANLEY BLACK & DECKER FRANCE SAS
       STANLEY BLACK ET DECKER FRANCE SERVICES SAS
       STANLEY HEALTHCARE SOLUTIONS FRANCE SARL
       STANLEY SECURITY FRANCE SAS
       STANLEY TOOLS SAS
       AVDEL DEUTSCHLAND GMBH
       BBW BAYRISCHE BOHRERWERKE GMBH
       BLACK & DECKER HOLDINGS GMBH
       BLACK & DECKER INTERNATIONAL HOLDINGS BV & CO KG
       HORST SPRENGER GMBH RECYCLING-TOOLS
       SETEC VERTRIEBSGESELLSCHAFT FUR BRAND- UND EINBRUCHMELDESYSTEME MBH
       STANLEY BLACK & DECKER DEUTSCHLAND GMBH
       STANLEY SECURITY DEUTSCHLAND ADMINISTRATION GMBH
       STANLEY SECURITY DEUTSCHLAND GMBH
       STANLEY SECURITY DEUTSCHLAND HOLDINGS GMBH
       TUCKER GMBH
       STANLEY BLACK & DECKER (HELLAS) EPE
       AVDEL HOLDINGS (HONG KONG) LIMITED
       BDC INTERNATIONAL LIMITED
       BD PRECISION (HONG KONG) LIMITED
       BD SUZHOU (HONG KONG) LIMITED
       BD SUZHOU POWER TOOLS (HONG KONG) LIMITED
       BD XIAMEN (HONG KONG) LIMITED
       BLACK & DECKER HONG KONG LIMITED
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       EMHART GUANGZHOU (HONG KONG) LIMITED
       HANGTECH LIMITED
       INFASTECH (CHINA) LIMITED
       INFASTECH COMPANY LIMITED
       NISCAYAH ASIA LTD
       NISCAYAH INVESTMENTS LTD
       STANLEY BLACK & DECKER HUNGARY KORLATOLT FELELOSSEGU TARSASAG
       STANLEY FINANCE HUNGARY GROUP FINANCING LIMITED LIABILITY COMPANY
       AVFAST (INDIA) PVT LTD
       INFASTECH FASTENING TECHNOLOGIES INDIA PRIVATE LIMITED
       STANLEY BLACK & DECKER INDIA LIMITED
       STANLEY ENGINEERED FASTENING INDIA PRIVATE LIMITED
       STANLEY SECURITY SOLUTIONS INDIA PRIVATE LIMITED
       STANLEY WORKS (INDIA) PRIVATE LIMITED
       PT STANLEY BLACK & DECKER
       BALTIMORE FINANCIAL SERVICES COMPANY
       BALTIMORE INSURANCE LIMITED
       BELCO INVESTMENTS COMPANY
       BLACK & DECKER INTERNATIONAL FINANCE 1 LIMITED
       BLACK & DECKER INTERNATIONAL FINANCE 3 LIMITED
       CHESAPEAKE FALLS HOLDINGS COMPANY
       GAMRIE LIMITED
       SBD EUROPEAN INVESTMENT
       SBD EUROPEAN SECURITY INTERNATIONAL
       SBD EUROPEAN SECURITY INVESTMENT
       SBD INFASTECH 1
       SBD INFASTECH 2
       SBD INFASTECH 3
       STANLEY BLACK & DECKER FINANCE UNLIMITED COMPANY
       STANLEY BLACK & DECKER INTERNATIONAL FINANCE 1 LIMITED
       STANLEY BLACK & DECKER INTERNATIONAL FINANCE 2
       STANLEY BLACK & DECKER INTERNATIONAL FINANCE 3
       STANLEY BLACK & DECKER INTERNATIONAL FINANCE 4
       STANLEY BLACK & DECKER INTERNATIONAL FINANCE 5
       STANLEY BLACK & DECKER IRELAND
       STANLEY BLACK & DECKER LATIN AMERICAN INVESTMENT
       STANLEY SECURITY LIMITED
       AEROSCOUT LTD
       THE STANLEY WORKS ISRAEL LTD
       AVDCL ITALIA SRL
       DEWALT INDUSTRIAL TOOLS SPA
       STANLEY BLACK & DECKER ITALIA SRL
       SWK UTENSILERIE SRL
       NIPPON POP RIVETS & FASTENERS, LTD
       INFASTECH (KOREA) LIMITED
       BLACK & DECKER (OVERSEAS) GMBH
       ASIA FASTENING (CAYMAN) SARL
       BLACK & DECKER ASIA MANUFACTURING HOLDINGS 1 SARL
       BLACK & DECKER ASIA MANUFACTURING HOLDINGS 2 SARL
       BLACK & DECKER GLOBAL HOLDINGS SARL
       BLACK & DECKER INTERNATIONAL HOLDINGS SARL
       BLACK & DECKER LIMITED SARL
       BLACK & DECKER LUXEMBOURG FINANCE SCA
       BLACK & DECKER LUXEMBOURG SARL
       BLACK & DECKER TRANSASIA SARL
       CHESAPEAKE INVESTMENTS COMPANY SARL
       GLOBAL FASTENING (CAYMAN) SARL
       INFASTECH SARL
       GLOBAL FASTENING (LUXEMBOURG) SARL
       SBD EUROPEAN SECURITY HOLDINGS SARL
       STANLEY BLACK & DECKER PARTNERSHIP JAPAN
       SBD NISCAYAH SARL
       BLACK & DECKER MACAO COMMERCIAL OFFSHORE LIMITED
       BLACK & DECKER ASIA PACIFIC (MALAYSIA) SDN BHD
       CRC-EVANS PIPELINE INTERNATIONAL SDNBHD
       INFASTECH (LABUAN) LIMITED
       INFASTECH (MALAYSIA) SDN BHD
       INFASTECH HOLDINGS (MALAYSIA) SDN BHD
       STANLEY SECURITY MALAYSIA SDN BHD
       STANLEY WORKS (MALAYSIA) SDN BHD
       BLACK & DECKER DE REYNOSA, S DE RL DE CV
       BLACK & DECKER, SA DE CV
       DCWALT INDUSTRIAL TOOLS, SA DE CV
       GRUPO BLACK & DECKER MEXICO S DE RL DE CV
       HERRAMIENTAS STANLEY SA DE CV
       STANLEY-BOSTITCH SERVICIOS S DE RL DE CV
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       STANLEY-BOSTITCH SA DE CV
       BLACK & DECKER FAR EAST HOLDINGS BV
       BLACK & DECKER HARDWARE HOLDINGS BV
       BLACK & DECKER HOLDINGS BV
       CHIRO TOOLS HOLDINGS BV
       EMHART TEKNOLOGIES BV
       INTERFAST BV
       STANLEY BLACK & DECKER ASIAN HOLDINGS BV
       STANLEY BLACK & DECKER NETHERLANDS BV
       STANLEY EUROPEAN HOLDINGS BV
       STANLEY EUROPEAN HOLDINGS II BV
       STANLEY ISRAEL INVESTMENTS BV
       STANLEY SECURITY ALARMCENTRALE BV
       STANLEY SECURITY NEDERLAND BV
       STANLEY WORKS HOLDINGS BV
       STANLEY BLACK & DECKER NZ LIMITED
       STANLEY BLACK & DECKER NORWAY AS
       STANLEY SECURITY HOLDINGS AS
       STANLEY SECURITY AS
       BLACK & DECKER DE PANAMA, S DE RL
       EMHART PANAMA, SA
       SBD PANAMA INVESTMENTS LLC
       SBD PANAMA LLC
       BLACK & DECKER DEL PERU SA
       MASTERFIX POLAND LTD SP ZOO
       STANLEY BLACK & DECKER POLSKA SP ZOO
       STANLEY FASTENING SYSTEMS POLAND SP ZOO
       STANLEY SECURITY PORTUGAL UNIPESSOAL LDA
       STANLEY BLACK & DECKER LIMITED LIABILITY COMPANY
       AEROSCOUT (SINGAPORE) PTE LTD
       BELLWETHER CAPITAL PRIVATE LIMITED
       BLACK & DECKER ASIA PACIFIC PTE LTD
       INFASTECH (SINGAPORE) PTE LTD
       INFASTECH INTELLECTUAL PROPERTIES PTE LTD
       INFASTECH RECEIVABLES COMPANY PTE LTD
       JOINT PROSPERITY INVESTMENT PRIVATE LIMITED
       STANLEY SECURITY SINGAPORE PTE LTD
       STANLEY WORKS ASIA PACIFIC PTC LTD
       VISIOCOM INTERNATIONAL PTE LTD
       STANLEY BLACK & DECKER SLOVAKIA SRO
       COOPCRHEAT OF AFRICA (PTY) LTD
       DE-TECT UNIT INSPECTION(PTY) LTD
       OCCANEERING HEAT TREATMENT SERVICES (PTY) LTD
       UNIT INSPECTION (INTERNATIONAL) (PTY) LTD
       UNIT INSPECTION PROPERTY (PTY) LTD
       AVDEL SPAIN SA
       PACOM SYSTEMS ESPANA SL
       STANLEY BLACK & DECKER IBERICA, SL
       SBD HOLDING AB
       NISCAYAH GROUP AB
       NISCAYAH TEKNIK AB
       PACOM GROUP AB
       STANLEY BLACK & DECKER SWEDEN AB
       STANLEY SECURITY SVERIGE AB
       EMHART GMBH
       SARGENT & GREENLEAF SA
       STANLEY BLACK & DECKER HOLDING GMBH
       STANLEY BLACK & DECKER SALES GMBH
       STANLEY SECURITY SWITZERLAND SARL
       STANLEY WORKS (EUROPE) GMBH
       BOSCO PNEUMATIC CORPORATION
       FASTENER JAMHER TAIWAN INC
       STANLEY CHIRO INTERNATIONAL LTD
       STANLEY FASTENING SYSTEMS INVESTMENT (TAIWAN) CO
       STANLEY SECURITY SOLUTIONS TAIWAN LTD
       BLACK & DECKER (THAILAND) LIMITED
       EMHART TEKNOLOGIES (THAILAND) LTD :
       INFASTECH THAI COMPANY LIMITED
       PIH (THAILAND) COMPANY LIMITED
       STANLEY WORKS LIMITED
       STANLEY BLACK & DECKER TURKEY ALET RETIM, SANAYI VE TICARET LIMITED
       ALKHAJA PIMCX LLC
       STANLEY MIDDLE EAST FZE
       AVDEL HOLDING LIMITED
       AVDEL UK LIMITED
       AVEN TOOLS LIMITED
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                                        BANDHART
                                        BANDHART OVERSEAS
                                        BLACK & DECKER
                                        BLACK & DECKER EUROPE
                                        BLACK & DECKER FINANCE
                                        BLACK & DECKER INTERNATIONAL
                                        BLACK & DECKER INTERNATIONAL FINANCE (UK) LIMITED
                                        BLACK & DECKER INTERNATIONAL FINANCE HOLDINGS (UK) LIMITED
                                        CRC-EVANS OFFSHORE LIMITED
                                        DEWALT INDUSTRIAL POWER TOOL COMPANY LTD
                                        ELU POWERS TOOLS LTD
                                        EMHART INTERNATIONAL LIMITED
                                        GLOBAL PROJECT (SERVICES) LIMITED
                                        META VISION SYSTEMS LIMITED
                                        NISCAYAH HOLDINGS LIMITED
                                        PIH HOLDINGS LIMITED
                                        PIH SERVICES LIMITED
                                        PIPELINE INDUCTION HEAT LIMITED
                                        STANLEY BLACK & DECKER INNOVATIONS LIMITED
                                        STANLEY BLACK & DECKER UK HOLDINGS LIMITED
                                        STANLEY BLACK & DECKER UK LIMITED
                                        STANLEY SECURITY SOLUTIONS (NI) LIMITED
                                        STANLEY SECURITY SOLUTIONS LIMITED
                                        STANLEY SECURITY SOLUTIONS-EUROPE LIMITED
                                        STANLEY UK HOLDING LTD
                                        STANLEY UK ACQUISITION COMPANY LIMITED
                                        STANLEY UK SERVICES LIMITED
                                        SWK (UK) HOLDING LIMITED
                                        SWK (UK) LIMITED
                                        THE STANLEY WORKS LIMITED
                                        TUCKER FASTENERS LIMITED
                                        UNIVERSAL INSPECTION SYSTEMS LIMITED
                                        BLACK & DECKER DE VENEZUELA, CA
                                        BLACK & DECKER HOLDINGS DE VENEZUELA CA
                                        BESCO INVESTMENT HOLDINGS LTD
                                        INFASTECH/TRI-STAR LIMITED
                                        PIH SERVICES ME LTD
                                        STANLEY WORKS CHINA INVESTMENTS LIMITED

28   MARIANNE HAMILTON                                                                               1/22/2018
29   BOB HEFFERNAN                                                                                   1/22/2018
30   MICHAEL SANTOS                                                                                  1/22/2018
31   BILL HOLMES                                                                                     1/22/2018
32   MAN LO                                                                                          1/22/2018
33   DAVID F. BIDWELL                                                                                1/22/2018
34   CAROL BROUGHTON                                                                                 1/23/2018
35   MARIA DIAZ                                                                                      1/23/2018
36   THE RANCH RESTAURANT AND SALOON                                                                 1/24/2018
37   ANDREW C. EDWARDS                                                                               1/24/2018
38   EXTRON ELECTRONICS                                                                              1/24/2018
39   LORENE LEONG                                                                                    1/25/2018
40   ELDEN ERICKSON                                                                                  1/25/2018
41   LIBERTY UNIVERSITY                                                                              1/25/2018
42   ESTHER WOOTEN                                                                                   1/27/2018
43   ROBERT NAGELKIRK                                                                                1/29/2018
44   OAKTON INTERNATIONAL CORPORATI                                                                  1/29/2018
45   XTO ENERGY INC                                                                                  1/29/2018
                                    32 Mineral O&G NM, L.L.C.
                                    820MT O&G NM, L.L.C.
                                    ACB O&G NM, LLC
                                    Antero Resources Corporation
                                    Antero Resources I GP, LLC
                                    Antero Resources I, LP
                                    Antero Resources I LP, LLC
                                    Antero Resources Pipeline LP
                                    ARBGT (SRB) O&G NM, LLC
                                    ARB-LMB PC O&G NM, L.L.C.
                                    ARB-RMB PC O&G NM, L.L.C.
                                    ARB-SRB PC O&G NM, L.L.C.
                                    Barnett Gathering, LLC
                                    Bass Energy Services, LLC
                                    BEPCO NM, LLC
                                    BMT O&G NM, LLC
                                    BOPCO GP LLC
                                    BOPCO Midstream Services, LLC
                                    BOPCO, LP.
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       Capital Partnership II O&G NM, LLC
       Capital Partnership O&G NM, LLC
       Classic Oil & Gas, Inc.
       Classic Petroleum, Inc.
       CMB O&G NM, LLC
       Cravens Oil Company
       Cross Timbers Energy Services, Inc.
       Cross Timbers Oil Company
       Cross Timbers Oil Company, L.P.
       Cross Timbers Trading Company
       CTV O&G NM, LLC
       DBFL Holdings, L.P.
       DBH Genpar, LLC
       Delbasin Corporation
       Dominion Reserves - Utah, Inc.
       Dominion San Juan, Inc.
       East Timbers Limited Partnership
       Ellora Energy Inc.
       English Bay Pipeline, LLC
       EPB-PC O&G NM L.L.C.
       Fayetteville Gathering Company
       Fine Line O&G NM, L.L.C.
       Goliad O&G NM, L.L.C.
       Hartshorne Gathering, LLC
       Havre Pipeline Company, LLC
       HHE Energy Company
       Hickory Timbers Limited Partnership
       HHEC Acquisition Corporation
       Houston County Timber Company
       HPC Acquisition Corporation
       HPT Land Company
       Keystone O&G NM, LLC
       LMBI O&G NM, LLC
       Main Elk Corporation
       Mega Natural Gas Company, L.L.C.
       MBCA Holdings, LLC
       MLB O&G NM, LLC
       Mountain Gathering, LLC
       Nesson Gathering System, LLC
       North Timbers Limited Partnership
       NPB Holdings, L.P.
       NPBH Genpar, LLC
       PBCA Holdings, L.P.
       PBH Genpar, LLC
       PERI Acquisitions Management #2, LLC
       PERI Energy Acquisition #2, LLC
       PERI LLC
       PERI Texas Resources, LP
       Phillips Drilling Company
       Phillips Exploration, LLC
       Phillips Resources, Inc.
       PRB II 1993A O&G NM, LLC
       PRB II 1993C O&G NM, LLC
       RFB 1993A O&G NM, LLC
       RFB 1993C O&G NM, LLC
       Ringwood Gathering Company
       RMB O&G NM, LLC
       San Juan Partners, LLC
       SBBCA Holdings, L.P.
       SBBH Genpar, LLC
       South Timbers Limited Partnership
       Spring Holding Company
       Spring Resources, Inc.
       SRBI O&G NM, L.L.C.
       SRBMT O&G NM, L.L.C.
       SSB 1993A O&G NM, LLC
       SSB 1993C O&G NM, LLC
       Summit Gas Gathering, LLC
       TBP Holdings, L.l.C.
       Thomas C. Mueller Inc.
       Thomas C. Mueller of Crawford County, Inc.
       Thomas C. Mueller, Limited
       Thru Line O&G NM, L.L.C.
       Timberland Gathering & Processing Company, Inc.
       TRB O&G NM, LLC
       Trend Gathering & Treating, LLC
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                                       TWP, Inc.
                                       WO O&G, NM, L.L.C
                                       West Timbers Limited Partnership
                                       WTW Properties, Inc.
                                       X Landmark LLC
                                       XH, LLC
                                       XTO Barnett LLC
                                       XTO Offshore Inc.
                                       XTO Netherlands, Ltd.
                                       XTO Resources I GP, LLC
                                       XTO Resources I LP
                                       XTO Resources I LP, LLC
                                       XTO UK, Ltd

46   DON HARRISON                                                                                                  1/31/2018
47   KAHAU KEA                                                                                                     1/31/2018
48   SAUMIT SHAH                                                                                                   2/1/2018
49   NADINE LANGIN                                                                                                 2/2/2018
50   SAC FEDERAL CREDIT UNION                                                                                      2/5/2018
51   GERALD HUNT                                                                                                   2/6/2018
52   ROZANNA BENZ                                                                                                  2/6/2018
53   BLACKBERRY LIMITED                                                                                            2/6/2018
                                       BlackBerry Corporation
                                       BlackBerry Singapore Pte. Limited
                                       Blackberry UK Limited

54   MELANIE STONE                                                                                                 2/7/2018
55   NOKIA (MICROSOFT MOBILE)                                                                                      2/8/2018
                                       Nokia Corporation (Finland)
                                       Nokia Sales International Oy (Finland)
                                       Nokia India Pvt. Ltd. (India)
                                       000 Nokia (Russia)
                                       Nokia (China) Investment Co., Ltd. (China)
                                       Nokia Telecommunications Ltd. (China)
                                       Nokia Inc. (United States)
                                       Nokia UK Limited (United Kingdom)
                                       Nokia do Brasil Technologia Ltda (Brazil)
                                       Nokia TMC Limited (South Korea
                                       Nokia (Thailand) Ltd. (Thailand)
                                       Nokia Solutions and Networks B.V. (The Netherlands)
                                       Nokia Solutions and Networks Oy (Finland)
                                       Nokia Solutions and Networks US LLC (United States)
                                       Nokia Solutions and Networks Japan Corp (Japan)
                                       Nokia Solutions and Networks India Private Limited.(India)
                                       Nokia Solutions and Networks System Technology (Beijing) Co., Ltd (China)
                                       Nokia Solutions and Networks Branch Operations Oy (Finland)
                                       Nokia Solutions and Networks Korea Ltd (South Korea)
                                       Nokia Solutions and Networks do Brasil Telecomunicacoes Ltda (Brazil)
                                       Nokia Solutions and Networks Technology Service Co., Ltd (China)
                                       HERE Holding Corporation (United States)
                                       HERE Global B.V. (The Netherlands)
                                       HERE Europe B.V. (The Netherlands)
                                       HERE North America LLC (United States)
                                       HERE Deutschland GmbH (Germany)
                                       Nokia Finance International B.V. (The Netherlands)
                                       Nokia GmbH (Germany)
                                       Nokia Capite! Telecommunications Ltd. (China)
                                       Dongguan Nokia Mobile Phones Company Ltd. (China)
                                       Nokia Komarom Kft (Hungary)
                                       Nokia Romania SRL (Romania)
                                       Nokia Communications Equipment (Shanghai) Ltd (China)
                                       Nokia (HK) Ltd (Hong Kong)
                                       Nokia Mobile Phone Manufacturing (HK) Ltd (Hong Kong)
                                       Nokia Mobile Communications KK (formerly Nokia Mobile Phone Japan)

56   MAKOTO YAMAZAKI                                                                                               2/9/2018
57   JAMES RIEMENSCHNEIDER                                                                                         2/12/2018
58   FLEXTRONICS INTERNATIONAL USA                                                                                 2/12/2018
                                       Advance Mold & Manufacturing, Inc.
                                       Astron Group Limited
                                       Avail Medical Products, Inc.
                                       Availmed, S.A. de C.V.
                                       BISSELL Asia Development Center (Shenzhen) Limited
                                       Chatham International Holdings B.V.
                                       Chengdu Flextronics Mechanical Manufacturing Co., Ltd.
                                       Ciii Ltd.
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       Ciii USA, Inc.
       Commercial Company in the form of a limited liability company factory “Flextronics LLC”
       Dii International Holdings C.V.
       Dongguan Flextronics Precision Metal Co., Ltd.
       Elementum Holding Ltd
       Elementum SCM (Cayman) Ltd
       Elementum SCM, Inc.
       Express Cargo Forwarding Limited
       Farm Design, Inc.
       Finchley Trading Limited
       Flex IDE8 Hong Kong Limited
       Flex IDE8 Manufacturing (Tianjin) Co., Ltd.
       Flex Precision Plastics Solutions (Switzerland) AG
       FlexMedical Slovakia s. r. o. v likvidácii
       Flextronics (Canada) Inc.
       Flextronics (China) Electronics Technology Co., Ltd.
       Flextronics (Israel) Ltd.
       Flextronics (Malaysia) Sdn. Bhd.
       Flextronics (Shanghai) Co., Ltd
       Flextronics (Shanghai) Electronic Equipment Repair Service Co., Ltd.
       Flextronics Aerospace & Defense Services Inc
       Flextronics America, LLC
       Flextronics AP, LLC
       Flextronics Australia Pty Ltd
       Flextronics Automotive (Suzhou) Co., Ltd.
       Flextronics Automotive de Juarez, S.A. de C.V.
       Flextronics Automotive GmbH & Co. KG
       Flextronics Automotive Sales and Marketing, Ltd.
       Flextronics Automotive USA (Texas), LLC
       Flextronics Automotive USA Design and Development Corporation
       Flextronics Automotive USA Manufacturing Co.
       Flextronics Automotive USA, Inc.
       Flextronics Automotive Verwaltungs GmbH
       Flextronics Beerse N.V.
       Flextronics Bermuda Ltd.
       Flextronics Canada Design Services, Inc.
       Flextronics Cayman (SLR) Limited
       Flextronics Central Europe B.V.
       Flextronics Chateaudun S.N.C.
       Flextronics China (Mauritius) Electronics Technology Co., Ltd.
       Flextronics China Holding (Singapore) Pte. Ltd.
       Flextronics Computing (Suzhou) Co., Ltd
       Flextronics Computing Mauritius Limited
       Flextronics Computing Sales and Marketing (L) Ltd.
       Flextronics Corporation
       Flextronics Design Asia Pte. Ltd.
       Flextronics Design Korea Ltd.
       Flextronics Design S.r.l.
       Flextronics Design, s.r.o.
       Flextronics Electronics (Mauritius) Limited
       Flextronics Electronics Technology (Shenzhen) Co., Ltd.
       Flextronics Electronics Technology (Suzhou) Co., Ltd.
       Flextronics Enclosure (Zhuhai) Co., Ltd
       Flextronics Enclosure Zhuhai (Mauritius) Co., Ltd.
       Flextronics Enclosures (Hong Kong) Limited
       Flextronics Europe Holdings C.V.
       Flextronics Europe Holdings LLC
       Flextronics Europe Limited
       Flextronics Foundation
       Flextronics Funding LLC
       Flextronics Global Enclosures (Shanghai) Co., Ltd.
       Flextronics Global Enclosures (Singapore) Pte. Ltd.
       Flextronics Global Enclosures Shanghai (Mauritius) Co., Ltd
       Flextronics Global Holdings II Ltd.
       Flextronics Global Holdings L.P.
       Flextronics Global Procurement Ltd.
       Flextronics Global Services (Manchester) Limited
       Flextronics Global Services Canada Inc. Services Globaux Flextronics Canada Inc.
       Flextronics Global Services Lojistik Hizmetleri Limited ªirketi
       Flextronics Guadalajara Group, S. de R.L. de C.V.
       Flextronics Holding (Singapore) Pte. Ltd.
       Flextronics Holding do Brasil Ltda.
       Flextronics Holding Finland Oy
       Flextronics Holding France S.A.
       Flextronics Holding GmbH
       Flextronics Holding USA, Inc.
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       Flextronics Holdings Mexico Dos, S.A. de C.V.
       Flextronics Holdings Mexico, S.A. de C.V.
       Flextronics Holdings Spain, S.L.U.
       Flextronics Ind. (Malaysia) Sdn. Bhd.
       Flextronics Industrial (Shenzhen) Co Ltd
       Flextronics Industrial (Suzhou) Co., Ltd.
       Flextronics Industrial (Zhuhai) Co., Ltd.
       Flextronics Industrial Ltd.
       Flextronics Industrial Shenzhen (Mauritius) Co Ltd.
       Flextronics Industrial Zhuhai (Mauritius) Co., Ltd.
       Flextronics Industries Marketing (L) Ltd.
       Flextronics Industries Singapore Ltd.
       Flextronics Information Technology (Shen Zhen) Co., Ltd
       Flextronics Information Technology Shen Zhen (Mauritius) Co., Ltd.
       Flextronics Instituto de Tecnologia – FIT
       Flextronics Integrated Services Mex, S. de R.L. de C.V.
       Flextronics International (Singapore Group) Pte. Ltd.
       Flextronics International AB
       Flextronics International Asia-Pacific Ltd
       Flextronics International Componentes Ltda.
       Flextronics International Cork B.V.
       Flextronics International Denmark A/S
       Flextronics International Europe B.V.
       Flextronics International Gesellschaft m.b.H.
       Flextronics International Holding LLC (CA)
       Flextronics International Holding LLC (DE)
       Flextronics International Holdings Pte. Ltd.
       Flextronics International Ireland Limited
       Flextronics International Japan Co., Ltd
       Flextronics International Lojýstýk Hýzmetler Týcaret Lýmýted Þýrketý
       Flextronics International Ltd.
       Flextronics International Management Services Ltd.
       Flextronics International N.V.
       Flextronics International Ostersund AB
       Flextronics International Poland Sp. z o.o.
       Flextronics International s.r.o.
       Flextronics International Sweden AB
       Flextronics International Taiwan Ltd.
       Flextronics International Technology LLC
       Flextronics International Tecnologia Ltda
       Flextronics International Termelõ és Szolgáltató Vámszabadterületi Korlátolt Felelõsségû Társaság
       Flextronics Investment Holding (Singapore) Pte. Ltd.
       Flextronics Investment Holding GmbH
       Flextronics Italy S.p.A.
       Flextronics Laval S.N.C.
       Flextronics Lighting Solutions, Inc.
       Flextronics Logistics (Hong Kong) Limited
       Flextronics Logistics (Zhuhai) Co., Ltd.
       Flextronics Logistics B.V.
       Flextronics Logistics Poland sp. z o.o.
       Flextronics Logistics USA, Inc.
       Flextronics Logistics Zhuhai (Mauritius) Co., Limited
       Flextronics Manufacturing (H.K.) Limited
       Flextronics Manufacturing (Shanghai) Co., Ltd.
       Flextronics Manufacturing (Singapore) Pte. Ltd.
       Flextronics Manufacturing (Tianjin) Co., Ltd.
       Flextronics Manufacturing (Zhuhai) Co., Ltd.
       Flextronics Manufacturing Aguascalientes, S.A. de C.V.
       Flextronics Manufacturing Europe B.V.
       Flextronics Manufacturing Juarez, S. de R.L. de C.V.
       Flextronics Manufacturing Mex, S.A. de C.V.
       Flextronics Manufacturing S.r.l.
       Flextronics Manufacturing Shanghai (Mauritius) Co., Ltd.
       Flextronics Manufacturing Zhuhai (Mauritius) Co., Ltd.
       Flextronics Marketing (L) Ltd.
       Flextronics Mauritius Holdings Limited
       Flextronics Mauritius Limited
       Flextronics Mechanicals Marketing (L) Ltd.
       Flextronics Mechanicals Singapore Pte. Ltd.
       Flextronics Medical Sales and Marketing, Ltd
       Flextronics Mexico Holdings II LLC
       Flextronics ODM Finland Oy
       Flextronics ODM Luxembourg S.A.
       Flextronics Ostersund AB
       Flextronics Photonics PPT, Inc.
       Flextronics Plastic (Asia Pacific) Limited
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       Flextronics Plastic Technology (ShenZhen) Ltd.
       Flextronics Plastic Technology ShenZhen (Mauritius) Ltd.
       Flextronics Plastics (M) Sdn. Bhd.
       Flextronics Plastics (Shenzhen) Co., Ltd
       Flextronics Plastics (Singapore) Pte. Ltd.
       Flextronics Plastics (Zhuhai) Co., Ltd
       Flextronics Plastics Gushu (Mauritius) Co., Ltd
       Flextronics Plastics Services, LLC
       Flextronics Plastics Zhuhai (Mauritius) Co., Ltd.
       Flextronics Plastics, S.A. de C.V.
       Flextronics Power Systems (Dongguan) Co., Ltd.
       Flextronics Precision Metal (Hong Kong) Limited
       Flextronics Precision Plastics, Inc.
       Flextronics Puerto Rico Limited
       Flextronics R&D (Shenzhen) Co., Ltd
       Flextronics R&D Shenzhen (Mauritius) Co., Ltd
       Flextronics Romania S.R.L.
       Flextronics S.R.L.
       Flextronics Sales & Marketing (A-P) Ltd.
       Flextronics Sales & Marketing North Asia (L) Ltd.
       Flextronics Sales and Marketing Consumer Digital Ltd.
       Flextronics Sárvár Logistics Korlátolt Felelõsségû Társaság
       Flextronics Scotland Limited
       Flextronics Shah Alam Sdn. Bhd.
       Flextronics Shanghai (Mauritius) Co., Ltd.
       Flextronics Shanghai Electronic Equipment Repair Service (Mauritius) Co., Ltd.
       Flextronics SMI (China) Ltd
       Flextronics Systems (Penang) Sdn. Bhd.
       Flextronics Technologies (India) Private Limited
       Flextronics Technologies Luxembourg LLC
       Flextronics Technologies Luxembourg S.a r.l.
       Flextronics Technologies Mexico, S. de R.L. de C.V.
       Flextronics Technologies San Luis, S.A. de C.V.
       Flextronics Technology (Malaysia) Sdn. Bhd.
       Flextronics Technology (Nanjing) Co., Ltd
       Flextronics Technology (Penang) Sdn. Bhd.
       Flextronics Technology (Shah Alam) Sdn. Bhd.
       Flextronics Technology (Shanghai) Co., Ltd.
       Flextronics Technology (ShenZhen) Co., Ltd
       Flextronics Technology (Singapore) Pte. Ltd.
       Flextronics Technology (Zhuhai) Co. Ltd.
       Flextronics Technology Nanjing (Mauritius) Co., Ltd
       Flextronics Technology Shanghai (Mauritius) Co., Ltd.
       Flextronics Technology ShenZhen (Mauritius) Co., Ltd
       Flextronics Technology Wujiang (Mauritius) Ltd
       Flextronics Technology Zhuhai (Mauritius) Co., Ltd
       Flextronics Tecnologia Do Brasil Ltd.
       Flextronics Telecom Systems Ltd
       Flextronics UK Limited
       Flextronics Vagyonkezelõ és Befektetési Korlátolt Felelõsségû Társaság
       Flextronics Verwaltungs GmbH
       Glouple Ventures 2000-II, LLC
       IDE8 Cayman
       IDE8 Mauritius Limited
       IDE8 Technology (Shanghai) Co., Ltd
       I E C Holdings Limited
       Irish Express Cargo Limited
       Irumold Group, S.L.U.
       Irumold Servicios, S.L.U.
       Irumold, S.L.U.
       Lab IX
       Masa da Amazônia Ltda.
       MCi (Mirror Controls International) Asia B.V.
       MCi (Mirror Controls International) B.V.
       MCi (Mirror Controls International) Holdings B.V.
       MCi (Mirror Controls International) Inc.
       MCi (Mirror Controls International) Ireland Limited
       MCi (Mirror Controls International) Ireland Operations Limited
       MCi (Mirror Controls International) Netherlands B.V.
       MCi (Mirror Controls International) S. de R.L. de C.V.
       MCi (Mirror Controls International) Yuhan Hoesa
       MCi Hoogeveen B.V.
       MCi Ireland Pension Plan Trustee Limited
       MCi Mirror Controls (Suzhou) Co., Ltd.
       MICOH B.V.
       Multek (FTZ) Limited
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                         Multek China Limited
                         Multek Display Cayman Ltd.
                         Multek Electronics Limited
                         Multek Flexible Circuits, Inc.
                         Multek Hong Kong Limited
                         Multek Industries Limited
                         Multek Technologies Limited
                         Multek Technology (Zhuhai) Co Limited
                         Multek Zhuhai Limited
                         Multilayer Technology Geschäftsführungs GmbH
                         Multilayer Technology GmbH & Co. KG
                         Nanjing Flextronics Panda Mobile Terminals Co., Ltd
                         NEXTracker Australia Pty. Ltd.
                         NEXTracker Chile SpA
                         NEXTracker, Inc.
                         Pacific Device, Inc.
                         Parque de Tecnologia Electronica, S.A. de C.V.
                         Power Systems R&D (Singapore) Pte. Ltd.
                         Power Systems R&D Philippines, Inc.
                         Power Systems Technologies (Beijing) Company Limited
                         Power Systems Technologies (Ganzhou) Co., Ltd.
                         Power Systems Technologies (Shenzhen) Company Limited
                         Power Systems Technologies Far East Limited
                         Power Systems Technologies GmbH
                         Power Systems Technologies Ltd.
                         Private Joint Stock Company “Flextronics Service UA”
                         PT. Flextronics Technology Indonesia
                         Shiant Resource Service Co., Ltd
                         Solectron Australia Pty Limited
                         Solectron France SAS
                         Solectron Phillipines Inc.
                         Sønderborg Værktøjsfabrik A/S
                         Swedform Enclosure Systems AB
                         The DII Group (BVI) Co. Limited
                         The DII Group Asia Limited
                         ThermoMend B.V.
                         ThermoMend International Ltd.
                         Vastbright PCB (Holding) Limited
                         Vim Technologies Ltd
                         Wink Labs, Inc.
                         Z124

59   KEVIN KHUU                                                                              2/13/2018
60   DELL INC.                                                                               2/14/2018
                         1397639 Ontario, Inc.
                         26éme Avenue SAS
                         881229 Alberta ULC
                         Abu Dhabi Branch of PSC Healthcare Software, Inc.
                         Active Concepts Inc.
                         Active Concepts PTY
                         Aelita Software Branch, Moscow
                         Aelita Software Branch, St. Petersburg
                         Aelita Software Corporation
                         Aelita Software Limited (UK)
                         Alienware Corporation
                         Alienware Corporation (Pacific Rim), Pty Ltd.
                         Alienware Labs Corporation
                         Alienware Latin America, S.A (Renamed Dell Costa Rica SA)
                         Alienware Limited
                         AppAssure Technologies Inc.
                         ASAP Software Express Inc.
                         Aventail L.L.C.
                         BakBone Software GmbH
                         BakBone Software India Private Limited
                         Bakbone Software Limited
                         BakBone Software Ltd. Russia Branch
                         BakBone Software SARL
                         BakBone Software, Inc.
                         BearingPoint Management Consulting (Shanghai) Ltd.
                         BearingPoint Management Consulting (Shanghai) Ltd. Beijing Branch
                         BitKoo CA LLC
                         Bluefolder, Inc
                         Bolts Acq. Corp.
                         Boomi, Inc.
                         Bracknell Boulevard (Block C) LLC
                         Bracknell Boulevard (Block D) LLC
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       Bracknell Boulevard Management Company Limited
       Branch of Dell (Free Zone Company L.L.C)
       Branch Office of Dell Software LLC in Saint-Petersburg
       Canada Branch of Perot Systems Corporation
       Change Base Ltd
       Charonware, s.r.o.
       Clerity Solutions, Inc.
       Coldspark, Inc.
       Compellent Technologies France Sarl
       Compellent Technologies Netherlands B.V.
       Compellent Technologies, Inc.
       Compellent Technologies International Ltd.
       CompellentTechnologies Italy Srl
       Compellent Technologies Netherlands BV
       Corporacion Dell de Venezuela SA
       Credant Technologies GmbH
       Credant Technologies International, Inc (Belgium Branch)
       Credant Technologies International, Inc.
       Credant Technologies International, Inc. (UK Branch)
       Credant Technologies, Inc.
       Credant Technologies UK
       Credant Technologies, Inc. - Canada Branch
       CSCAN Acquisition Corp.
       DCC Executive Security Inc. (formerly PSC Security, Inc.)
       Dell (Chengdu) Company Limited
       Dell (China) Company Limited
       Dell (China) Company Limited - Beijing Branch
       Dell (China) Company Limited - Chengdu Branch
       Dell (China) Company Limited - Beijing Information Technology Branch Office
       Dell (China) Company Limited - Beijing Liaison Office
       Dell (China) Company Limited - Chengdu Liaison Office
       Dell (China) Company Limited - Dalian Branch
       Dell (China) Company Limited - Guangzhou Branch
       Dell (China) Company Limited - Guangzhou Liaison Office
       Dell (China) Company Limited - Hang Zhou Liaison Office
       Dell (China) Company Limited - Nanjing Liaison Office
       Dell (China) Company Limited - Shanghai
       Dell (China) Company Limited - Shanghai Branch
       Dell (China) Company Limited - Shen Zhen Liaison Office
       Dell (China) Company Limited - Shenzhen Branch
       Dell (China) Company Limited - Xiamen Branch
       Dell (PS) B.V.
       Dell (PS) Investments B.V.
       Dell (PS) Limited
       Dell (PS) Systems B.V.
       Dell (PS) Systems TSI (Netherlands) B.V.
       Dell (Switzerland) GmbH
       Dell (Xiamen) Company Limited
       Dell (Xiamen) Company Limited - Dalian Branch
       Dell A/S
       Dell AB
       Dell America Latina Corp, Argentina Branch
       Dell America Latina Corp.
       Dell AS
       Dell Asia B.V.
       Dell Asia Holdings Pte. Ltd.
       Dell Asia Pacific Sdn Bhd (Pakistan Liaison Office)
       Dell Asia Pacific Sdn.
       Dell Asia Pacific Sdn. - Philippines Representative Office
       Dell Asia Pacific Sdn. Bhd.
       Dell Asia Pte Ltd.
       Dell Asset Revolving Trust-B
       Dell Asset Syndication L.L.C.
       Dell Asset Securitization GP
       Dell Asset Securitization Holding L.P.
       Dell Australia Pty Limited
       Dell B.V.
       Dell B.V., Taiwan Branch
       Dell Bank International Designated Activity Company
       Dell Bank International Designated Activity Company, Sucursal en España
       Dell Business Process Solutions India Private Limited
       Dell Canada Inc.
       Dell Catalog Sales LP Representative Office
       Dell Colombia Inc.
       Dell Colombia Inc - COLOMBIA BRANCH
       Dell Computadores do Brasil Ltda.
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       Dell Computer (Barbados) Corporation
       Dell Computer (Proprietary) Ltd
       Dell Computer (Pty) Limited
       Dell Computer De Chile Ltda.
       Dell Computer EEIG
       Dell Computer Holdings L.P.
       Dell Computer International (II) – Comercio de Computadores Sociedade Unipessoal Lda
       Dell Computer SA
       Dell Computer Services de Mexico S.A. de C.V.
       Dell Computer spol. s r.o.
       Dell Conduit Funding L.P.
       Dell Conduit Funding-B L.L.C.
       Dell Corporation (Thailand) Co., Ltd.
       Dell Corporation Limited
       Dell Corporation Limited – Northern Ireland Place of Business
       Dell Costa Rica SA
       Dell Depositor L.L.C.
       Dell DFS Canada Inc
       Dell DFS Corporation
       Dell DFS Holdings Kft
       Dell DFS Holdings LLC
       Dell DFS Ltd
       Dell DFS Ltd. - Spain Branch
       Dell Direct
       Dell Distribution Maroc (Succ)
       Dell El Salvador, Limitada
       Dell Emerging Markets (EMEA) Limited
       Dell Emerging Markets (EMEA) Limited
       Dell Emerging Markets (EMEA) Ltd - Russia Representative Office
       Dell Emerging Markets (EMEA) Limited - Egypt Representative Office
       Dell Emerging Markets (EMEA) Limited - Representative Office (Republic of Croatia)
       Dell Emerging Markets (EMEA) Limited - Representative Office (Jordan)
       Dell Emerging Markets (EMEA) Limited (Kazakhstan Representative Office)
       Dell Emerging Markets (EMEA) Limited (Kenya Branch)
       Dell Emerging Markets (EMEA) Limited Magyarorszagi Kereskedelmi Kepviselet – Rep. Office
       Dell Emerging Markets (EMEA) Limited (Uganda Representative Office)
       Dell Emerging Markets (EMEA) Limited External Company (Ghana)
       Dell Emerging Markets (EMEA) Limited Trade Representative Office (Bulgaria)
       DELL EMERGING MARKETS (EMEA) LIMITED za usluge, Podružnica Zagreb
       Dell Equipment Finance Trust 2014-1
       Dell Equipment Finance Trust 2015-1
       Dell Equipment Finance Trust 2015-2
       Dell Equipment Funding LP
       Dell Equipment GP LLC
       Dell Export Sales Corporation
       Dell Federal Systems Corporation
       Dell Federal Systems GP L.L.C.
       Dell Federal Systems L.P.
       Dell Federal Systems LP L.L.C.
       Dell Financial Services Canada Limited
       Dell Financial Services L.L.C.
       Dell Funding L.L.C.
       Dell FZ-LLC
       Dell FZ-LLC - Abu Dhabi Branch
       Dell FZ-LLC - BAHRAIN BRANCH
       Dell FZ-LLC - Qatar Branch
       Dell Gesellschaft m.b.H
       Dell Global B.V.
       Dell Global B.V. - Bangladesh Liaison Office
       Dell Global B.V. - Indonesia Representative Office
       Dell Global B.V. - Pakistan Liaison Office
       Dell Global B.V. - Philippines Representative Office
       Dell Global B.V. - Sri Lanka Liaison / Representative Office
       Dell Global B.V. (Singapore Branch)
       Dell Global Business Center Sdn. Bhd.
       Dell Global Holdings II B.V.
       Dell Global Holdings III B.V.
       Dell Global Holdings IV L.L.C.
       Dell Global Holdings L.L.C.
       Dell Global Holdings VI L.L.C.
       Dell Global Holdings VII LLC
       Dell Global Holdings VIII L.L.C
       Dell Global Holdings X L.L.C.
       Dell Global International B.V.
       Dell Global Procurement Malaysia Sdn. Bhd.
       Dell Global Pte. Ltd.
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       Dell GmbH
       Dell GmbH - Munich Branch
       Dell GmbH SUPERVISORY BOARD
       Dell Guatemala, Ltda.
       Dell Halle GmbH
       Dell Halle GmbH SUPERVISORY BOARD
       Dell Honduras, S. de R.L. de C.V.
       Dell Hong Kong Limited
       Dell Hungary Technology Solutions Trade LLC
       Dell III - Comercio de Computadores, Unipessoal Lda
       Dell Inc.
       Dell India (Sales & Marketing) Private Limited
       Dell India Private Limited
       Dell Information Technology (Hunan) Company Limited
       Dell Information Technology (Kunshan) Company Limited
       Dell International Holdings IX B.V.
       Dell International Holdings Kft
       Dell International Holdings SAS
       Dell International Holdings VIII B.V.
       Dell International Holdings X B.V.
       Dell International Holdings XII Coöperatief U.A.
       Dell International Inc. (Korea)
       Dell International L.L.C.
       Dell International Services India Private Limited (Active)
       Dell International Services Philippines, Inc.
       Dell International Services SRL
       Dell Japan Inc
       Dell Latinoamerica, S. de R.L.
       Dell Leasing Mexico S. de RL de C.V.
       Dell Leasing Mexico Services S. de. R.L. de C.V.
       Dell LLC
       Dell Marketing Corporation
       Dell Marketing GP L.L.C.
       Dell Marketing L.P.
       Dell Marketing LP L.L.C.
       Dell Mexico S.A. de C.V.
       Dell Morocco SAS
       Dell New Zealand Limited
       Dell NV
       Dell Panama S de RL
       Dell Peru S.A.C.
       Dell Procurement (Xiamen) Company Limited
       Dell Procurement (Xiamen) Company Limited - Shanghai Branch
       Dell Procurement (Xiamen) Company Limited - Shenzhen Branch
       Dell Procurement (Xiamen) Company Limited - Shenzhen Liaison Office
       Dell Product and Process Innovation Services Corp.
       Dell Products
       Dell Products (Europe) B.V.
       Dell Products (Poland) Sp.z.o.o.
       Dell Products Corporation
       Dell Products GP LLC
       Dell Products L.P.
       Dell Products LP L.L.C.
       Dell Products Manufacturing Limited
       Dell Protective Services Inc.
       Dell Puerto Rico Corp.
       Dell Quebec Inc.
       Dell Receivables Corporation
       Dell Receivables GP LLC
       Dell Receivables L.P.
       Dell Receivables LP LLC
       Dell Research
       Dell Revolver Company L.P.
       Dell Revolver Funding L.L.C.
       Dell Revolver GP L.L.C.
       Dell Revolving Transferor L.L.C.
       Dell S.à r.l
       Dell S.p.A
       Dell s.r.o.
       Dell SA
       Dell Sales Malaysia Sdn. Bhd.
       Dell SAS
       Dell Services (China) Company Limited
       Dell Services (China) Company Limited - Beijing Consulting Branch
       Dell Services (China) Company Limited - Shanghai Branch
       Dell Services (China) Company Limited - Tianjin Branch
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       Dell Services Federal Government, Inc.
       Dell Services GmbH
       Dell Services Pte. Ltd.
       Dell Singapore Pte. Ltd. (plan to close)
       Dell Software (Beijing) Company Limited
       Dell Software (Beijing) Company Limited, Guangzhou Branch Office
       Dell Software (Beijing) Company Limited, Shanghai Branch Office
       Dell Software (Thailand) Company Limited
       Dell Software (UK) Limited
       Dell Software (Zhuhai) Company Limited
       Dell Software AB
       Dell Software ApS
       Dell Software AS
       Dell Software B.V.
       Dell Software BVBA
       Dell Software Canada Inc.
       Dell Software Company Limited
       Dell Software Europe Limited
       Dell Software GmbH
       Dell Software Hong Kong Limited
       Dell Software Inc.
       Dell Software India Private Limited
       Dell Software International Limited
       Dell Software Japan, Ltd.
       Dell Software Korea Ltd
       Dell Software LLC
       Dell Software Ltda. (Brazil)
       Dell Software New Zealand Limited
       Dell Software (Pty.) Ltd.
       Dell Software S.r.l. Unipersonale
       Dell Software s.r.o.
       Dell Software SARL
       Dell Software Sdn. Bhd.
       Dell Software Singapore Pte. Ltd.
       Dell Software SL
       Dell Software Sp.z o.o.
       Dell Software Switzerland GmbH
       Dell Software Taiwan Ltd.
       Dell Solutions (UK) Limited
       Dell Sp.z o.o.
       Dell Systems (TSI) Mauritius Private Limited
       Dell Systems (UK) Limited
       Dell Systems Applications Solutions, Inc.
       Dell Systems Communications Services, Inc.
       Dell Systems Corporation
       Dell Systems Europe Limited
       Dell Systems TSI (Hungary) Likviditásmenedzsment Korlátolt Felelısségő Társaság
       Dell Taiwan B.V.
       Dell Taiwan B.V., Taiwan Branch
       Dell Technology & Solutions Israel Ltd
       Dell Technology & Solutions Limited
       Dell Technology & Solutions Nigeria Limited
       Dell Technology S.R.L.
       Dell Technology Products And Services SA
       Dell Technology Services, Inc, Sociedad De Responsabilidad Limitada
       Dell Teknoloji Limited Sirketi
       Dell Trinidad and Tobago Company Limited
       Dell Trading (Kunshan) Company Limited
       Dell UK Employee Financial Security Plan
       Dell USA Corporation
       Dell USA GP L.L.C.
       Dell USA L.P.
       Dell USA LP LLC
       Dell World Trade Corporation
       Dell World Trade GP L.L.C.
       Dell World Trade L.P.
       Dell World Trade LP L.L.C.
       Denali Finance Corp.
       Denali Holding Inc.
       Denali Intermediate Inc.
       DFS B.V.
       DFS Equipment Holdings, LP
       DFS Equipment Remarketing LLC
       DFS Funding LB.LV.C.
       DFS-SPV L.L.C.
       Diamond 1 Finance Corporation
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       Diamond 2 Finance Corporation
       DIH IX CV
       DIH VI CV
       DIH VII C.V.
       DIH VIII C.V.
       DIH X C.V.
       Elbert Mx, S. de R.L. de C.V.
       Elbert S.A.
       Elbert Software Chile SpA
       Elbert Software S.A.
       EqualLogic Japan Company Limited
       Enstratius (NZ) Limited
       Enstratius, Inc.
       Fastlane Technologies Corporation
       Fastlane Technologies UK
       Force10 International Limited
       Force10 Networks (Shanghai) Company Limited
       Force10 Networks Australia Pty. Ltd.
       Force10 Networks Germany (Branch)
       Force10 Networks Global, Inc.
       Force10 Networks Hong Kong (Branch)
       Force10 Networks India Pvt. Ltd.
       Force10 Networks International, Inc.
       Force10 Networks International, Inc Zweigniederlassung Deutschland
       Force10 Networks Singapore Pte. Ltd.
       Force10 Networks, Inc. Force10 Networks Korea YH
       Force10 Networks Ltd.
       Force10 Networks Malaysia (Branch)
       Force10 Networks Spain (Rep office)
       Fresh Dew Investments Ltd.
       Fvision Acquisition Corp.
       Gale Networks Private Limited
       Gale Technologies, Inc.
       Hinsona Limited
       HPS Europe Limited BRANCH
       JKK Finance Ltd.
       Imceda Software Australia Pty, Ltd.
       Imceda Software Inc.
       Imceda Technologies Pty,JKK Finance Ltd.
       Invirtus, Inc.
       Lecco Technology (UK) Limited
       Lecco Technology Inc.
       Lecco Technology, Inc. (USA)
       License Technologies Group, Inc.
       LLC Dell Ukraine
       Lumenare Networks Mauritius Ltd
       Magnum Technologies, Inc.
       Make Technologies Inc.
       Messagewise
       Muretia Investments Ltd
       NetPro Computing Canada, Inc.
       NetPro Computing France, Inc.
       NetPro Computing Germany, Inc.
       NetPro Computing UK, Inc.
       NetPro Computing, Inc.
       NetPro Engineering, Inc.
       NetPro Europe Branch
       NetPro Europe, Inc.
       NetPro France Branch
       NetPro Germany Branch
       NetPro UK Branch
       Ocarina Networks India Private Limited
       OptiGrowth Capital S.a.r.l
       PacketTrap Networks, Inc.
       Oy Dell AB
       PassGo Technologies Limited
       PassGo Technologies Trustees Ltd
       Perot Systems (Malaysia) Sdn. Bhd.
       Perot Systems (Shanghai) Consulting Co., Ltd
       Perot Systems India Foundation
       Perot Systems TSI (Bermuda) Ltd.
       Perot Systems (Singapore) Pte. Ltd.
       Perot Systems (Switzerland) GmbH
       Perot Systems (UK) Ltd.
       Perot Systems Application Solutions Inc.
       Perot Systems B.V.
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       Perot Systems Communications Services, Inc.
       Perot Systems Corporation
       Perot Systems Europe Limited
       Perot Systems Government Healthcare Solutions, Inc.
       Perot Systems Government Solutions, Inc.
       Perot Systems Healthcare Solutions, Inc.
       Perot Systems Holdings Pte. Ltd
       Perot Systems Investments B.V.
       Perot Systems Revenue Cycle Solutions, Inc.
       Perot Systems TSI (Hungary) Liquidity Management LLC
       Perot Systems TSI (Mauritius) Pvt. Ltd.
       Perot Systems TSI (Middle East) FZ-LLC
       Perot Systems TSI (Netherlands) B.V.
       PrSM Corporation
       PSC GP Corporation
       PSC Healthcare Software, Inc.
       PSC LP Corporation
       PSC Management Limited Partnership
       PSM Holdings 1, Inc.
       PSM Holdings 2, Inc.
       PSM Holdings 1 L.L.C.
       PSM Holdings 2 L.L.C.
       PT Dell Indonesia
       Q.S.I. Quest Software Israel Limited
       QSFT India Private Ltd. Inc.
       QSFT Svenska AB
       QSS Group, Inc.
       Quest Acquisition Corporation
       Quest Holding Company, LLC
       Quest Holdings SARL
       Quest Software Limited
       Quest Software Public Sector, Inc.
       Quest Scandanavia AS
       Quest Software (UK) Ltd.
       Quest Software (Zhuhai) Ltd.
       Quest Software Beijing Company
       Quest Software Belgium
       Quest Software Canada
       Quest Software Company Limited
       Quest Software Espana, SL
       Quest Software France Sarl
       Quest Software Gmbh
       Quest Software Greater China Limited
       Quest Software Int'l Limited
       Quest Software Italia Srl
       Quest Software Japan Ltd
       Quest Software Korea Ltd
       Quest Software Mexico, S. de R.L. de C.V.
       Quest Software Netherlands B.V.
       Quest Software Norge S/A
       Quest Software Pty, Ltd.
       Quest Software Public Sector Inc
       Quest Software Sales Sdn Bhd
       Quest Software Singapore Pty Limited
       Quest Software Switzerland Gmbh
       Quest Software, Inc.
       Quest Software, Ltd.
       QuickCyckem Inc.
       QuikCycle Inc.
       Safari I, Inc.
       Safari II GP LLC
       Safari II, Inc.
       Safari Limited II LP
       Safari Limited Partnership
       ScriptLogic Australia
       SecureWorks Holding Corp.
       SecureWorks Inc.
       SecureWorks UK Ltd.
       SecureWorks UK Ltd. - Finland Branch
       Smarsh CRM Service, Inc.
       Smarsh Inc.
       Software Ltd Russia Rep Office
       Representative Office of Dell Global B.V. in Hanoi
       Representative Office of Dell Global B.V. in Ho Chi Minh City
       ScriptLogic Corporation
       SecureWorks Australia Pty. Ltd.
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       SecureWorks Europe Limited
       SecureWorks Europe S.R.L.
       SecureWorks Holding Corporation
       SecureWorks India Private Limited
       SecureWorks Japan K.K.
       SecureWorks SAS
       SecureWorks, Inc.
       SonicWALL BV
       SonicWALL BV - Australia Branch
       SonicWALL BV - Beijing Rep. Office
       SonicWALL BV - Belgium Branch
       SonicWALL BV - Canada Branch
       SonicWALL BV - Dubai Branch
       SonicWALL BV - France Branch
       SonicWALL BV - Germany Branch
       SonicWALL BV - Hong Kong Branch
       SonicWALL BV - India Branch
       SonicWALL BV - Ireland Branch
       SonicWALL BV - Japan Branch
       SonicWALL BV - Korea Branch
       SonicWALL BV - Singapore Branch
       SonicWALL BV - Spain Branch
       SonicWALL BV - Sweden Branch
       SonicWALL BV - Taiwan Branch
       SonicWALL BV - UK Branch
       SonicWALL Infosecurity Private Limited
       SonicWALL L.L.C.
       SonicWALL Mexico, S de RL de CV
       SonicWALL AG
       SonicWALL B.V.
       SonicWALL B.V. (Belgium Branch)
       SonicWALL B.V. (Singapore Branch)
       SonicWALL B.V. (UK Branch)
       SonicWALL B.V., Australia Branch
       SonicWALL B.V., Taiwan Branch
       SonicWALL Mexico, S. de R.L. de C.V.
       SonicWALL Russia LLC
       SonicWALL Services Private Limited
       SonicWALL Shanghai Limited
       SonicWALL, Inc.
       Support Center, BV (pka Sitraka)
       Surgient, Inc.
       StatSoft CR s.r.o
       StatSoft France
       StatSoft Holdings, Inc.
       Statsoft Holdings, Inc. Taiwan Branch
       StatSoft Iberica - Representacao E Consultoria De Software LDA
       StatSoft Israel Limited
       StatSoft Italia S.r.l
       StatSoft Limited
       StatSoft Pacific Pty. Ltd.
       StatSoft Polska Sp.z.o.o
       StatSoft, Inc.
       Symlabs - Desenvolvimento de Software, S.A.
       Symlabs Espana, Software y Sistemas, S.L.
       Symlabs, Inc.
       Symlabs S.A. Portugal
       Transaction Applications Group, Inc.
       Trellia Networks, Inc.
       Turin Networks India Private Limited
       Turin Networks International, Inc.
       TXZ Holding Company Limited
       U.S. Services L.L.C.
       Universal Acquisition Co.
       Vintela Australia Pty., Ltd
       Vintela Pty, Ltd.
       Vintela, Inc.
       VirtualFabrix Inc.
       Vizioncore
       Vkernel Corp.
       Wedgetail Communications Inc.
       Werner Colombia S.A.S.
       Werner Japan K.K.
       Wyse Australia Pty. Ltd Australia
       Wyse International LLC
       Wyse Mexico S.A. de C.V.
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                                     Wyse Technology, Inc.
                                     Wyse Technology (Canada) Ltd.
                                     Wyse Technology (Beijing) Co. Ltd.
                                     Wyse Technology (Taiwan) Ltd.
                                     Wyse Technology (UK) Limited
                                     Wyse Technology Australia Pty Limited
                                     Wyse Technology Holdings (Cayman) Ltd.
                                     Wyse Technology China (HK) Limited
                                     Wyse Technology GmbH Germany
                                     Wyse Technology GmbH
                                     Wyse Technology International B.V.
                                     Wyse Technology KK Japan
                                     Wyse Technology L.L.C.
                                     Wyse Technology SAS
                                     Wyse Technology Singapore Pte. Ltd.
                                     Wyse Technology Ltd Taiwan
                                     Wyse Technology SA France
                                     Wyse Technology Sales & Marketing India Private Ltd.
                                     Wyse Techonology China (HK) Ltd.
                                     Wyse Techonology S.A de C.V.
                                     Wyse Techonology Software Development India Private Ltd.
                                     EMC (Benelux) B.V.
                                     EMC International Company
                                     EMC Information Systems International
                                     VMware Bermuda Limited
                                     EMC International U.S. Holdings, Inc.
                                     VMware, Inc.
                                     RSA Security LLC
                                     RSA Security Inc.

61   ART GONZALES                                                                                        2/15/2018
62   EDITH C. MCQUEEN                                                                                    2/16/2018
63   SEARS, ROEBUCK AND CO.                                                                              2/16/2018
                                     Sears Holding Corporation
                                     Sears Holdings Management Corporation
                                     Kmart Corportation
                                     Kmart Management Corporation
                                     Kmart Holdings Corporation

64   KRISTINA LYSOVA                                                                                     2/16/2018
65   E. WAYNE GRABEN                                                                                     2/17/2018
66   HYON YOM                                                                                            2/19/2018
67   FRANCINE GRABEN                                                                                     2/21/2018
68   AMERICAN AUTOMOTIVE SUPPLY                                                                          2/21/2018
69   HENRY HUTZLER                                                                                       2/26/2018
70   DANTE B ALIPIO, JR.                                                                                 2/26/2018
71   JONATHAN JACKSON                                                                                    2/27/2018
72   HP INC                                                                                              2/27/2018
                                     2040523 Ontario Inc.
                                     3086025 Nova Scotia Company
                                     3Com (Austria) Ges.m.b.H
                                     3Com (Schweiz) AG
                                     3Com (Thailand) Company Limited
                                     3Com (U.K.) Limited
                                     3Com (UK) Limited
                                     3Com Asia Limited
                                     3Com Asia Limited
                                     3Com Asia Limited Beijing Branch
                                     3Com Asia Limited, Hangzhou Branch
                                     3Com Asia Pacific Rim Pte Limited
                                     3Com Australia Pty Ltd
                                     3Com Benelux B.V.
                                     3Com Benelux B.V. - Belgium Branch (Belgium Branch)
                                     3Com Bilgisayer Ticaret A.S.
                                     3Com Canada Co.
                                     3Com Capital Corporation
                                     3Com Corporation
                                     3Com de Mexico, S.A. de C.V.
                                     3Com do Brasil Servicos Ltda.
                                     3Com Europe Limited
                                     3Com Europe Limited - Russia Branch Office (Russia Branch Office)
                                     3Com GmbH
                                     3Com GmbH - Czech Republic Branch (Czech Republic Branch)
                                     3Com Holdings Limited
                                     3Com Holdings SAS
                                     3Com Iberia S.A.
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       3Com India Private Limited
       3Com International, Inc.
       3Com International, Inc.
       3Com International, Inc.
       3Com International, Inc. - Dubai Branch (Dubai Branch)
       3Com International, Inc. Taiwan Branch
       3Com Ireland Technologies Limited
       3Com Ireland Technologies Limited (Ireland Branch)
       3Com Israel Limited
       3Com Italia S.R.L.
       3Com Korea LLC
       3Com Malaysia Sdn. Bhd.
       3Com Nordic AB
       3Com Pension Scheme (1996) Trustees Limited
       3Com Polska sp. z.o.o.
       3Com S.A.S.
       3Com S.A.S. - Saudi Arabia Branch
       3Com South Asia Pte Limited
       3Com Technologies
       3Com Technologies (Ireland Branch)
       3COM U.K. HOLDINGS LIMITED
       3Com Ventures, Inc.
       3PAR GmbH
       3PAR Government Systems Inc.
       3PAR Hong Kong Limited
       3PAR Hong Kong Ltd (Beijing Rep Office)
       3PAR Hong Kong Ltd (Shanghai Rep office)
       3PAR Inc.
       3PAR Limited
       3PAR Limited, France Representative Office (France Rep Office)
       3PAR Limited, Netherlands Representative Office (Netherlands Rep Office)
       3PAR Limited, Switzerland Representative Office (Switzerland Rep Office)
       3PAR Pty. Ltd.
       3PAR Singapore Pte Limited (Korea Branch)
       3PAR Singapore Pte. Limited
       3PAR, Ltd
       Aberdeen Merger Corporation
       ABS Application Systems (Pty) Ltd.
       ABS Computer Sales (Pty) Ltd.
       ABS Computer Services (Pty) Ltd.
       ABS Information Technology (Pty) Ltd.
       Acciones Productivas, S. de R.L. de C.V.
       AOME Holdings Ltd.
       Apollo Consumer Products, Ltd.
       Apollo World Trade, Inc.
       APPIQ (UK) LIMITED
       AppIQ Securities Corporation
       AppIQ Technologies (India) Private Limited
       AppIQ, Inc.
       Apsylog GmbH
       APSYLOG Inc.
       Aptitude Management Consulting W.L.L.
       ArcSight (Hong Kong) Limited
       Arcsight (UK) Limited
       ArcSight Australia Pty Limited
       Arcsight Canada Co.
       ArcSight Germany GmbH
       ArcSight International Inc. Beijing Representative Office
       ArcSight International Inc. OFIC Representacion (Spain Rep. Office)
       ArcSight International Inc. Payroll Office (Netherlands)
       ArcSight International, Inc.
       ArcSight International, Inc. (Dubai Branch)
       ArcSight International, Inc. Bureau de Liaison (France)
       ArcSight International, Inc. Represenative Office (Italy)
       ArcSight K.K.
       ArcSight Mexico, S. de R.L. de C.V.
       ArcSight Singapore Pte. Limited
       ArcSight Switzerland GmbH
       ArcSight Technology Private Limited
       ArcSight, LLC
       Arjuna Solutions Limited
       ARLE A/S
       Arteis, Inc.
       Aspire Holdings Limited
       Atos Origin Middle East SAS Abu Dhabi Branch (United Arab Emirates Branch)
       Aurasma Limited
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       Aurasma, Inc.
       Autonomy Australia Pty Limited
       Autonomy Belgium BVBA
       Autonomy Corporation Limited
       Autonomy Digital GMBH
       Autonomy Digital Limited
       Autonomy Digital LLC
       Autonomy Digital SARL
       Autonomy Europe Holdings Limited
       Autonomy France Sàrl
       Autonomy Germany GmbH
       Autonomy Italy Srl
       Autonomy KK
       Autonomy NA Holdings, Inc.
       Autonomy Netherlands BV
       Autonomy Nordic AS
       Autonomy Promote Limited
       Autonomy Promote, Inc.
       Autonomy Software Asia Private Limited
       Autonomy Spain SL
       Autonomy Sweden AB
       Autonomy Systems (Beijing) Limited Company
       Autonomy Systems (Canada) Ltd.
       Autonomy Systems Australia Pty Limited
       Autonomy Systems Limited
       Autonomy Systems Singapore Pte Ltd
       Autonomy Systems Software South Africa
       Autonomy TS1 LLC
       Autonomy TS2 LLC
       Autonomy, Inc.
       AutumnVest Property Limited
       Avantek, Inc.
       Axiom Connection Limited
       Ballgame Acquisition Corporation
       Basys Automatic Systems Limited
       Baxville Corporation N.V.
       Beijing H3C Technologies Co., Ltd
       Berman Acquisition Corporation
       Betula Holding N.V.
       bilderservice.de GmbH
       Bitfone Asia-Pacific K.K.
       Bitfone Corporation
       Bitfone Corporation, Beijing Representative Office
       Bitfone Electronics (Beijing) Ltd Corporation
       Bitfone Inc.
       Bitfone International, Inc (UK Branch)
       Bitfone International, Inc.
       Bitfone International, Inc. (Korea Branch)
       Blaze Printing (Proprietary) Limited
       Blaze Printing B.V.
       Blaze Printing Holdings Limited
       Blaze Printing Holdings Limited, Dubai Branch (United Arab Emirates Branch)
       Bluestone Software AB
       Bluestone Software Europe Ltd.
       Bluestone Software, Inc.
       Bombini Investment N.V.
       Bonnaterre N.V.
       Bristol Technology B.V.
       Bristol Technology Software Private Limited
       Bristol Technology, Inc.
       Bulldog Acquisition Corporation
       C onoscere Comércio de Software Ltda
       CEC Europe Service Management Limited
       CFSSPV1, L.L.C.
       CFSSPV2, L.L.C.
       China Hewlett-Packard Co., Ltd.
       Chipcom Japan KK
       Citymax Egypt SAE
       Citymax Integrated Information Systems Ltd
       Citymax RA Limited
       Clique Intelligence, Inc.
       CoCreate Software Ltd
       CodeArts GmbH
       Colorado Acquisition Corporation
       Colorado Holdings LLC
       Colubris Inc.
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       Colubris Japan KK
       Colubris Networks (Asia) Pte. Ltd.
       Colubris Networks (Asia) Pte. Ltd. (Korea Branch)
       Colubris Networks Canada Co.
       Colubris Networks Inc.
       Colubris Networks International, Inc.
       Colubris Networks Limited
       Compaq (China) Investment Co. Ltd.
       Compaq Asia Fulfillment Center Pte Ltd
       Compaq Asia Pte. Limited
       Compaq Cayman Holdings Company
       Compaq Cayman Holdings General Partnership II
       Compaq Cayman Islands Investment Company
       Compaq Cayman Islands Vision Company
       Compaq Computer (Delaware), LLC
       Compaq Computer (Malaysia) Sdn Bhd
       Compaq Computer (Mauritius)
       Compaq Computer (Shanghai) Company Limited
       Compaq Computer (Shenzhen) Co. Ltd
       Compaq Computer (Thailand) Ltd
       Compaq Computer Asia Pte. Ltd
       Compaq Computer Asia/Pacific Pte. Ltd.
       Compaq Computer Australia Pty Limited
       Compaq Computer BDG (Russian Federation Representative Office)
       Compaq Computer BDG GmbH, Abu Dhabi Branch
       Compaq Computer Caribbean, Inc.
       Compaq Computer Cayman, LP
       Compaq Computer Corporation
       Compaq Computer Customer Support Center GmbH
       Compaq Computer Deutschland GmbH (Holding)
       Compaq Computer Distribution (Ireland) Limited
       Compaq Computer Egypt LLC
       Compaq Computer EMEA B.V., German Branch
       Compaq Computer Eqypt
       Compaq Computer FZE
       Compaq Computer GmbH (Russian Federation Representative Office)
       Compaq Computer Group Limited
       Compaq Computer Holding Limited
       Compaq Computer Holdings Ltd
       Compaq Computer Holdings S.r.l.
       Compaq Computer Hong Kong Limited
       Compaq Computer International Corporation
       Compaq Computer Limited
       Compaq Computer Madeira LDA
       Compaq Computer NW Africa SARL
       Compaq Computer Panama, Inc.
       Compaq Computer S.r.l.
       Compaq Computer Technologies (China) Co. Ltd
       Compaq Computer UK Enterprise Limited
       Compaq Computers (1996) Ltd.
       Compaq EMEA Enterprise Services Inc. (Germany Branch)
       Compaq EMEA Enterprise Services, Inc.
       Compaq Financial Services SAS
       Compaq FSC (Barbados) Inc.
       Compaq Holdings Pte. Ltd.
       Compaq Information Technologies LLC
       Compaq Integration and Technology Services LLC
       Compaq International Procurement Corporation
       Compaq Latin America Corporation
       Compaq Latin America Corporation
       Compaq Latin America Corporation
       Compaq Latin America Corporation (Chile Branch)
       Compaq Latin America Corporation (Ecuador Branch)
       Compaq Latin America Corporation (Puerto Rico Branch)
       Compaq Technologies (Australia) Proprietary Limited
       Compaq Trademark B.V.
       Compaq TSO Inc. (Saudi Branch)
       Compaq TSO, Inc.
       Compaq Ventures Pte. Ltd.
       Compaq Works K.K.
       Compaq, S. de R.L. de C.V.
       Compaq-Austin, Inc.
       COMPQ1 SAS
       COMPQ3 SAS
       Computer Disaster Recovery Europe Limited
       Computer Disaster Recovery Limited
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       Computer Facilities Services Mexico S.A. de C.V., SOFOM, E.N.R.
       Computer Insurance Company
       Computer Insurance Company Limited
       Computer Mexico Holding, S. de R.L. de C.V.
       Consera Software Corporation
       Convex Computer B.V.
       Corporation 1106
       Creekpath Systems Limited
       Custom Edge Incorporated
       Data Premium Systems Sdn Bhd
       Database Tecnologie S.r.l. in liquidation
       Dazel (Australia) Pty. Limited
       Dazel (UK) Ltd
       Dazel Corporation
       DEC (CIS) B.V. (Russian Federation Representative Office)
       DEC CIS B.V., Ukraine Representative Office
       Dicheng Information Technology Co. Ltd
       Digital Equipment (DEC) Technical Center (Israel) Limited
       Digital Equipment (Thailand) Limited
       Digital Equipment Asia Pacific Pte Ltd
       Digital Equipment Betriebliche Altresversorgungsgesellschaft mbh
       Digital Equipment Chile Limitada
       Digital Equipment China Inc
       Digital Equipment China Ltd.
       Digital Equipment Co Limited
       Digital Equipment Corporation
       Digital Equipment Corporation (Australia) Pty. Ltd.
       Digital Equipment Corporation (Consultancy) Limited
       Digital Equipment Corporation (Proprietary) Limited
       Digital Equipment Incorporated
       Digital Equipment International Betriebliche Altersversorgungsgesellschaft mbH
       Digital Equipment PRC Limited
       Digital Equipment Scotland
       Digital Equipment Singapore Pte Ltd
       Digital Equipment SME Limited
       Discovery Mining Limited
       District Acquisition Corporation
       DMA Bracknell Limited
       Double B Acquisition Corp.
       DpTechnologies B.V.
       Dremedia Limited
       DVOIT Limited
       E.D.S. Chile Limitada
       E.D.S. de Mexico, Sociedad de Responsabilidad Limitada de Capital Variable
       E.D.S. Gulf States W.L.L. (Saudi Branch)
       E.D.S. Gulf States W.L.L., Dubai Branch (United Arab Emirates Branch)
       E.D.S. International Corporation
       E.D.S. International Limited
       E.D.S. Spectrum Corporation
       E.D.S. World Corporation (Far East) Venezuela C.C.A.
       Eagles Merger Corporation
       eBreviate UK Limited
       EDS Elektronikus Adatrendszer Magyarország Kft
       EDS (Australia) Superannuation Fund Pty Ltd
       EDS (China) Co., Ltd.
       EDS (Electronic Data Systems) Limited
       EDS (Korea) LLC
       EDS (New Zealand)
       EDS (New Zealand) Pensions Limited
       EDS (Payment Services) Pty Limited
       EDS (Schweiz) GmbH
       EDS (Scotland) Finance Partnership
       EDS 1994 Trustee Limited
       EDS Africa (Murex) Limited
       EDS Africa (Murex) Limited (Ivory Coast Branch)
       EDS Africa (Murex) Limited (Kenya Branch)
       EDS Africa (Murex) Limited (Madagascar Branch)
       EDS Africa (Murex) Limited (Mali Branch)
       EDS Africa (Murex) Ltd., Burkina Faso Branch
       EDS Africa (Pty) Ltd
       EDS African Holdings (Proprietary) Limited
       EDS Application Services GmbH
       EDS Asia Pacific Holdings
       EDS België/Belgique BVBA
       EDS Bulgaria EOOD
       EDS Business Services Pty Ltd
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       EDS Business Solutions GmbH
       EDS Canada Corp.
       EDS Consulting AG
       EDS Consulting International, Sociedad De Responsabilidad Limitada De Capital Variable
       EDS Consulting Services Italia S.r.l.
       EDS Consulting Services S.A.S.
       EDS Credit Services Limited
       EDS Defence Services Limited
       EDS Defense N.V. in liquidation
       EDS Desenvolvimento de Produtos Ltda.
       EDS Deutschland Beteiligungs GmbH & Co. KG
       EDS Deutschland GmbH
       EDS Deutschland Verwaltungs GmbH
       EDS Electronic Data Sistemleri Ticaret Limited Sirketi
       EDS Electronic Data Systems (Hong Kong) Limited (Shanghai Rep Office)
       EDS Electronic Data Systems (Hong Kong) Limited (Shenzhen Rep Office)
       EDS Electronic Data Systems (Philippines), Inc
       EDS Electronic Data Systems (Thailand) Co., Ltd
       EDS Electronic Data Systems del Peru S.R.L.
       EDS Electronic Data Systems Italia Software S.r.l.
       EDS Electronic Data Systems Luxembourg S.à.r.l.
       EDS Enterprise Solutions Africa (Pty) Limited
       EDS Epsilon SNC
       EDS Europe
       EDS Finance (Cayman)
       EDS Finance Ltd
       EDS Finance Partnership (Canada) L.P.
       EDS Finance Partnership (Cayman), L.P.
       EDS Finland Oy Ab
       EDS Foundation
       EDS Global Contracts, LLC
       EDS Holding GmbH
       EDS IN. SER. S.r.l.
       EDS Information Business GmbH
       EDS International (Greece) EPE
       EDS IT-Services S.R.L.
       EDS IT-Services UAB
       EDS Japan LLC
       EDS Japan Y.K.
       EDS Magyarország Tanácsadó Kft.
       EDS Mexicana S. de R.L. de C.V.
       EDS MSC (Malaysia) Sdn Bhd
       EDS Namibia (Proprietary) Limited
       EDS Nominees Limited
       EDS Norge AS
       EDS Operations Services GmbH
       EDS Operations Services GmbH (Moscow, Russia Branch)
       EDS Operations Services GmbH (St. Petersburg Branch)
       EDS Poland Sp. z.o.o.
       EDS Professionnel Secteur Financier (PSF) Luxembourg S.à.r.l.
       EDS Secretarial Services Limited
       EDS Slovakia, s.r.o. v likvidácii
       EDS South LLC
       EDS Sweden AB
       EDS Tunisia SARL
       EDS UK Limited
       EDS Vanco (Pty) Ltd.
       EDS Vermögensverwaltungs GmbH
       EDS World Corporation (Far East) LLC
       EDS World Corporation (Netherlands) LLC
       EDS, s.r.o. v likvidaci
       EDS-Electronic Data Systems do Brasil Ltda
       EHRO Holding Company
       Einhorn Yaffee Prescott
       EISIS Limited
       Eldorado Computing Inc.
       Electronic Data System Limited Liability Company
       Electronic Data Systems - Belgium BVBA
       Electronic Data Systems (EDS Austria) GmbH
       Electronic Data Systems (EDS) de Argentina S.R.L.
       Electronic Data Systems (EDS) de Costa Rica Limitada
       Electronic Data Systems (EDS) de Guatemala, Limitada
       Electronic Data Systems (EDS) International B.V.
       Electronic Data Systems (EDS) Israel Ltd.
       Electronic Data Systems (EDSEcuador) CIA, LTDA
       Electronic Data Systems (Egypt) SAE
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       Electronic Data Systems (Ireland) Limited
       Electronic Data Systems (Shanghai) Company Limited
       Electronic Data Systems España, S.L.
       Electronic Data Systems IT Services (M) Sdn. Bhd.
       Electronic Data Systems Taiwan Corporation
       Electronic Digital Systems Morocco SARL
       England
       ES SHARED SERVICE CENTER S.p.A.
       ES SHARED SERVICE CENTER SOCIETA PER AZIONI, Branch Austria
       Escador GmbH
       etalk Corporation
       Euryte Wireless Holdings N.V.
       Evita Holdings Acquisition Corporation
       Evita Software Acquisition Corporation
       Evita Software North America Acquisition Corporation
       Excellerate HRO Deutschland GmbH
       ExcellerateHRO Canada Co.
       ExcellerateHRO LLP
       ExcellerateHRO Nederland B.V.
       ExcellerateHRO Relocation & Assignment Services, LLC
       ExcellerateHRO Servicos de Recursos Humanos do Brasil Ltda.
       ExcellerateHRO Share Plan Services (Guernsey) Limited
       ExcellerateHRO UK Limited
       ExcellerateHRO World Services LLC
       eXchangeBridge, Inc.
       Exstream France and Southern Europe SAS
       Exstream Holdings Inc.
       Exstream Intermediate Holdings I Inc.
       Exstream Intermediate Holdings II Inc.
       Exstream International
       Exstream Nordic AS
       Exstream Pacific Pty Limited
       Exstream Sales Company, Inc.
       Exstream Software CEE, s.r.o. v likvidaci
       Exstream Software Germany GmbH
       Exstream Software North America, LLC
       Exstream Software UK Limited
       Exstream Software, LLC
       Extreme Logic, Inc.
       Extricity Canada Corp.
       Extricity GmbH
       Extricity Holding B.V.
       Extricity Limited (aka Extricity Software Limited)
       Extricity SARL
       EYP Employment Services, LLC
       EYP Mission Critical Engineering, Inc.
       EYP Mission Critical Facilities (UK) Limited
       EYP Mission Critical Facilities, Inc.
       F.H. Computer Services Limited
       Fleet Systems Inc.
       FLLC "Hewlett-Packard Bel"
       Fortify International Inc (UK Branch)
       Fortify International, Inc.
       Fortify North America, Inc
       Fortify Software Europe B.V.
       Fortify Software Godo Kaisha
       Fortify Software Inc
       Fortify Software, Inc (Beijing Rep Office)
       Fortify Software, Inc (HongKong Branch)
       Fortify Software, LLC
       Fprint UK Limited
       Fujian Compaq eCommerce Technology Co. Ltd
       Garganta Corporation B.V.
       GEMS Techno Solutions (India) Private Limited
       Geneva Investments N.V.
       Genoa Acquisition Corporation
       Global E-Business Operations Centre SRL
       Global e-Business Operations Private Limited
       Global E-Business Operations Sp. z o.o.
       Global Linxs GmbH
       Global Services SRL
       Gram Global Operations Limited
       Gram, Inc.
       Grassmount Investments Limited
       Grierson Gilchrist Limited
       H3C Holdings Limited
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       H3C Technologies (India) Private Limited
       H3C Technologies (Rus) Limited Liability Company
       H3C Technologies Co. Limited
       H3C Technologies Japan K.K.
       Handspring Corporation
       Handspring International Ltd.
       Handspring Singapore Pte Ltd
       Hangzhou H3C Technologies Co., Ltd
       Hangzhou H3C Technologies Co., Ltd R & D Center - Beijing
       Hangzhou H3C Technologies Co., Ltd R & D Center - Shenzheng
       Hangzhou Queenhive Software Co., Ltd.
       Hanover Asia Pacific Investments Limited
       Hawk Merger Corporation
       Hewlett Packard Caribe B.V.
       Hewlett Packard Colombia Ltda.
       Hewlett Packard Servicios España, S.L, Sucursal en Mónaco
       Hewlett Packard Uganda Limited
       Hewlett-Packard Lanka (Private) Limited
       Hewlett-Packard (Bracknell) Holdings Limited
       Hewlett-Packard (British Virgin Islands) Inc.
       Hewlett-Packard (Canada) Co.
       Hewlett-Packard (China) Investment Limited
       Hewlett-Packard (Chongqing) Co., Ltd
       Hewlett-Packard (Chongqing) Manufacturing, Export, Procurement and Settlement Co., Ltd.
       Hewlett-Packard (HP) RE Limited
       Hewlett-Packard (India) Software Operation Private Limited
       Hewlett-Packard (Israel) Ltd.
       Hewlett-Packard (Japan NK) Holdings C.V.
       Hewlett-Packard (Labuan) Ltd.
       Hewlett-Packard (M) Sdn. Bhd.
       Hewlett-Packard (Manufacturing) Ltd.
       Hewlett-Packard (Mauritius) Limited
       Hewlett-Packard (Nigeria) Limited
       Hewlett-Packard (Penang) Sdn. Bhd.
       Hewlett-Packard (Romania) SRL
       Hewlett-Packard (Schweiz) GmbH
       Hewlett-Packard (Schweiz) GmbH, Zweigniederlassung Reinach (Switzerland Branch)
       Hewlett-Packard (Schweiz) GmbH, Zweigniederlassung Urdorf (Switzerland Branch)
       Hewlett-Packard (Schweiz) GmbH, Zweigniederlassung Urtenen
       Hewlett-Packard (Suisse) Sàrl, succursale de Meyrin
       Hewlett-Packard (Suisse) Sàrl, succursale du Mont-sur-Lausanne (Switzerland Branch)
       Hewlett-Packard (Tanzania) Limited
       Hewlett-Packard (Technical) B.V.
       Hewlett-Packard (Thailand) Limited
       Hewlett-Packard 1997 South Africa (Proprietary) Ltd.
       Hewlett-Packard Aalsmeer B.V.
       Hewlett-Packard Administrative Services LLC
       Hewlett-Packard Alkmaar B.V.
       Hewlett-Packard Almelo B.V.
       Hewlett-Packard Almere B.V.
       Hewlett-Packard Amersfoort B.V.
       Hewlett-Packard Amstelveen B.V.
       Hewlett-Packard Amsterdam Holding B.V.
       Hewlett-Packard Amsterdam Holding B.V., Niederlassung Deutschland (Germany Branch)
       Hewlett-Packard Angola, Ltda.
       Hewlett-Packard AP (Hong Kong) Limited
       Hewlett-Packard AP (Hong Kong) Limited
       Hewlett-Packard AP (Hong Kong) Limited
       Hewlett-Packard AP (Hong Kong) Limited (Pakistan Branch)
       Hewlett-Packard AP (Hong Kong) Limited, Philippine Regional Operating Headquarters
       Hewlett-Packard ApS
       Hewlett-Packard ApS (ceased to exist)
       Hewlett-Packard Arabia LLC
       Hewlett-Packard Argentina S.R.L.
       Hewlett-Packard Arnhem B.V.
       Hewlett-Packard Asia Pacific Pte. Ltd.
       Hewlett-Packard Asia Pacific Services Corporation
       Hewlett-Packard Assen B.V.
       Hewlett-Packard Australia Consolidated Pty. Ltd.
       Hewlett-Packard Australia Finance Pty. Limited
       Hewlett-Packard Australia Group Holdings Pty. Ltd.
       Hewlett-Packard Australia Holdings Pty. Ltd.
       Hewlett-Packard Australia Pty Limited
       Hewlett-Packard Australia Pty Ltd (Fiji Branch)
       Hewlett-Packard Australia Pty. Ltd.
       Hewlett-Packard Azia, LLC
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       Hewlett-Packard Azia, LLC (Cayman Islands branch)
       Hewlett-Packard Baarn B.V.
       Hewlett-Packard Barcelona B.V.
       Hewlett-Packard Bari B.V.
       Hewlett-Packard Barneveld B.V.
       Hewlett-Packard Belgium SPRL/BVBA
       Hewlett-Packard Belgrade B.V.
       Hewlett-Packard Bergen B.V.
       Hewlett-Packard Berlin B.V.
       Hewlett-Packard Bermuda Enterprises L.P.
       Hewlett-Packard Bermuda Enterprises, LLC
       Hewlett-Packard Bermuda Holdings II L.P.
       Hewlett-Packard Bermuda Holdings III Limited Partnership
       Hewlett-Packard Bermuda Holdings IV L.P.
       Hewlett-Packard Bermuda Holdings L.P.
       Hewlett-Packard Bermuda International II LP
       Hewlett-Packard Bermuda International III L.P.
       Hewlett-Packard Bermuda International L.P.
       Hewlett-Packard Bermuda Investments II LP
       Hewlett-Packard Bermuda Investments L.P.
       Hewlett-Packard Bermuda Partnership L.P.
       Hewlett-Packard Bermuda Services LP
       Hewlett-Packard Bern B.V.
       Hewlett-Packard Best B.V.
       Hewlett-Packard BI II, LLC
       Hewlett-Packard BI, LLC
       Hewlett-Packard Bordeaux B.V.
       Hewlett-Packard Brasil Ltda.
       Hewlett-Packard Brazil Holdings, LLC
       Hewlett-Packard Brielle B.V.
       Hewlett-Packard Brussels B.V.
       Hewlett-Packard Bulgaria EOOD
       Hewlett-Packard C.I.S. B.V.
       Hewlett-Packard Cain Holdings Ltd.
       Hewlett-Packard Cambridge B.V.
       Hewlett-Packard Canada Investments Co.
       Hewlett-Packard Canada Investments II Co.
       Hewlett-Packard Capelle B.V.
       Hewlett-Packard Caribbean Manufacturing B.V.
       Hewlett-Packard Caribbean Manufacturing B.V., LLC
       Hewlett-Packard Caribe B.V.
       Hewlett-Packard Caribe B.V. (Singapore Branch)
       Hewlett-Packard Caribe Ltd.
       Hewlett-Packard Caribe y Andina B.V.
       Hewlett-Packard Caribe Y Andina B.V.
       Hewlett-Packard Caribe Y Andina B.V.
       Hewlett-Packard Caribe Y Andina B.V.
       Hewlett-Packard Caribe Y Andina B.V.
       Hewlett-Packard Caribe Y Andina B.V.
       Hewlett-Packard Caribe Y Andina B.V.
       Hewlett-Packard Caribe Y Andina B.V.
       Hewlett-Packard Caribe Y Andina B.V.
       Hewlett-Packard Caribe Y Andina B.V.
       Hewlett-Packard Caribe Y Andina B.V.
       Hewlett-Packard Caribe y Andina B.V. (Costa Rica Branch)
       Hewlett-Packard CDS (Nederland) B.V.
       Hewlett-Packard CDS Belgium BVBA
       Hewlett-Packard CDS France, SAS
       Hewlett-Packard CDS GmbH
       Hewlett-Packard CDS Holding B.V.
       Hewlett-Packard CDS Ireland Limited
       Hewlett-Packard CDS Limited
       Hewlett-Packard CDS Limited (Isle of Man branch)
       Hewlett-Packard Central Eastern European Holding GmbH
       Hewlett-Packard Centre de Compétences, France SAS
       Hewlett-Packard Centro de Servicios Globales, S. de R.L. de C.V.
       Hewlett-Packard CentroAmerica CAC Ltda
       Hewlett-Packard Cervin Sàrl
       Hewlett-Packard CFS India Ltd.
       Hewlett-Packard Chile Comercial Limitada
       Hewlett-Packard Circeo (Cayman) Company
       Hewlett-Packard Cologne B.V.
       Hewlett-Packard Colombia Limitada
       Hewlett-Packard Colorado B.V.
       Hewlett-Packard Colorspan EMEA (Netherlands Branch)
       Hewlett-Packard Colorspan, Inc - Dutch Branch (Netherlands Branch)
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       Hewlett-Packard Colorspan, Inc.
       Hewlett-Packard Communication Services, LLC
       Hewlett-Packard Company
       Hewlett-Packard Company (Bolivia Branch)
       Hewlett-Packard Computadores Limitada
       Hewlett-Packard Consultoría y Aplicaciones España, S.L.
       Hewlett-Packard Coordination Center CVBA/SCRL
       Hewlett-Packard Copenhagen B.V.
       Hewlett-Packard Corporation (M) Sdn. Bhd.
       Hewlett-Packard Costa Rica Ltda
       Hewlett-Packard Credit Corporation
       Hewlett-Packard CRS (Austria) GmbH
       Hewlett-Packard CRS (Netherlands) B.V.
       Hewlett-Packard CRS (Spain), S.L.
       Hewlett-Packard Customer Delivery Services Italia Srl
       Hewlett-Packard Customer Delivery Services, S.L.
       Hewlett-Packard Customer Referral Services-Prestacao de Servicos de Consultoria e Administracao,
       Unipessoal Lda.
       Hewlett-Packard Customer Services Ltd.
       Hewlett-Packard Cyprus Ltd
       Hewlett-Packard d.o.o.
       Hewlett-Packard d.o.o.
       Hewlett-Packard d.o.o., druzba za tehnološke rešitve
       Hewlett-Packard de Honduras, S. de R.L. de C.V.
       Hewlett-Packard de Nicaragua y Compañía Limitada
       Hewlett-Packard Delaware Capital Inc.
       Hewlett-Packard Development Company, L.P.
       Hewlett-Packard Deventer B.V.
       Hewlett-Packard Diemen B.V.
       Hewlett-Packard Dokkum B.V.
       Hewlett-Packard Dominicana, S.A.
       Hewlett-Packard Dublin (Holdings) Ltd.
       Hewlett-Packard Dublin B.V.
       Hewlett-Packard Dusseldorf B.V.
       Hewlett-Packard Eagle Corporation
       Hewlett-Packard East Africa Limited
       Hewlett-Packard Ecuador CIA Ltda
       Hewlett-Packard Edam B.V.
       Hewlett-Packard EEIG
       Hewlett-Packard Egypt Ltd.
       Hewlett-Packard Eindhoven B.V.
       Hewlett-Packard El Djazair SARL
       Hewlett-Packard EMEA B.V.
       Hewlett-Packard EMEA GmbH
       Hewlett-Packard EMEA Holdings II B.V.
       Hewlett-Packard EMEA Holdings II B.V.
       Hewlett-Packard Emmen B.V.
       Hewlett-Packard Enterprises, LLC
       Hewlett-Packard Equity Investments Limited
       Hewlett-Packard Erste Beteiligungs GmbH
       Hewlett-Packard Erste Vermögensverwaltungs-und Beteiligungsgesellschaft
       Hewlett-Packard Española S.L.
       Hewlett-Packard Europa Holding B.V.
       Hewlett-Packard Europa Holding B.V. Niederlassung Deutschland
       Hewlett-Packard Europa Holding GmbH & Co. KG
       Hewlett-Packard Europa Investments Limited
       Hewlett-Packard Europa Verwaltungs GmbH
       Hewlett-Packard Europe B.V.
       Hewlett-Packard Europe B.V., Regional Branch Office
       Hewlett-Packard Europe BV, Amsterdam, Meyrin Branch
       Hewlett-Packard Europe Finance Limited, Israel Branch
       Hewlett-Packard Europe Finance Ltd.
       Hewlett-Packard Everest, LLC
       Hewlett-Packard Federal, LLC
       Hewlett-Packard Finance Ltd.
       Hewlett-Packard Finance N.V.
       Hewlett-Packard FinanceCo CVBA
       Hewlett-Packard Financial Services (Dubai) Limited
       Hewlett-Packard Financial Services (Illinois), LLC
       Hewlett-Packard Financial Services (India) Private Limited
       Hewlett-Packard Financial Services Canada Company
       Hewlett-Packard Financial Services Canada Company - Filiale Italiana
       Hewlett-Packard Financial Services Company
       Hewlett-Packard Financial Services Company Limited
       Hewlett-Packard Financial Services Europe Asset Management Limited
       Hewlett-Packard Financial Services Holding
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       Hewlett-Packard Financial Services Holding Company Limited
       Hewlett-Packard Financial Services Holding Company Limited - Sucursal em Portugal
       Hewlett-Packard Financial Services Holding Company Limited Sucursal en Espana (Spain Branch)
       Hewlett-Packard Financial Services Holding Company Limited, Ireland Filial (Sweden Branch)
       Hewlett-Packard Financial Services Holding Company Limited, Italy Branch
       Hewlett-Packard Financial Services Holding Company Limited, Netherlands Branch (Netherlands
       Branch)
       Hewlett-Packard Financial Services Holding Company Limited, Norsk Avdeling Av Utenlandsk
       Foretak (Norway Branch)
       Hewlett-Packard Financial Services Holding Company Limited, sivuliike Suomessa (Finland Branch)
       Hewlett-Packard Financial Services Holding Company Limited, South Africa Branch
       Hewlett-Packard Financial Services Holding Company Limited, UK Branch (UK Branch)
       Hewlett-Packard Financial Services Holding Company Limited, Zweigniederlassung, Dubendorf
       (Switzerland Branch)
       Hewlett-Packard Financial Services Holding Limited, Denmark Branch (Denmark Branch)
       Hewlett-Packard Financial Services Israel Limited
       Hewlett-Packard Financial Services Israel Limited, Israel Branch (Israel Branch)
       Hewlett-Packard Financial Services Latin American Holding Limited
       Hewlett-Packard Florence B.V.
       Hewlett-Packard for trade d.o.o. Sarajevo
       Hewlett-Packard France SAS
       Hewlett-Packard FS France SAS
       Hewlett-Packard Funding Mexico, S. de R.L. de C.V.
       Hewlett-Packard G.K.
       Hewlett-Packard G1 SPV (Cayman) Company
       Hewlett-Packard Galway Limited
       Hewlett-Packard Ges.m.b.H. (Russian Federation Representative Office)
       Hewlett-Packard Gesellschaft mbH
       Hewlett-Packard Ghana Limited
       Hewlett-Packard Global Delivery Bulgaria Center EOOD
       Hewlett-Packard Global Delivery Tunisia Center, S.A.R.L.
       Hewlett-Packard Global Enterprises B.V. in liquidatie
       Hewlett-Packard Global Holdings B.V.
       Hewlett-Packard Global Investments B.V.
       Hewlett-Packard Global Services Panama, SA
       Hewlett-Packard Global Trading Inc.
       Hewlett-Packard GlobalSoft Limited, Bangalore, Meyrin Branch (Switzerland Branch)
       Hewlett-Packard GlobalSoft Ltd, Zweigniederlassung München
       Hewlett-Packard Globalsoft Private Limited
       Hewlett-Packard Globalsoft Private Limited
       Hewlett-Packard GlobalSoft Private Limited
       Hewlett-Packard Globalsoft Private Limited
       Hewlett-Packard Globalsoft Private Limited ( Japan Branch)
       Hewlett-Packard Globalsoft Private Limited (Hong Kong Branch)
       Hewlett-Packard GlobalSoft Private Ltd
       Hewlett-Packard GmbH
       Hewlett-Packard Gotham B.V.
       Hewlett-Packard Gouda B.V.
       Hewlett-Packard Groningen B.V.
       Hewlett-Packard GSC Colombia Ltda.
       Hewlett-Packard Guatemala, Limitada
       Hewlett-Packard Gulf SAS
       Hewlett-Packard Gulf SAS, Bahrain Branch
       Hewlett-Packard Haarlem B.V.
       Hewlett-Packard Heemstede B.V.
       Hewlett-Packard Heerlen B.V.
       Hewlett-Packard Heerlen B.V. (Argentina Branch)
       Hewlett-Packard Hellas EPE
       Hewlett-Packard Hilversum B.V.
       Hewlett-Packard Hispaniola, Limited
       Hewlett-Packard HK SAR Ltd.
       Hewlett-Packard Holding B.V.
       Hewlett-Packard Holding France, SAS
       Hewlett-Packard Holding GmbH
       Hewlett-Packard Holding Iberia, S.L.
       Hewlett-Packard Holding Sàrl
       Hewlett-Packard Holdings Ltd
       Hewlett-Packard Holysloot B.V.
       Hewlett-Packard Hong Kong Limited
       Hewlett-Packard Hoofddorp B.V.
       Hewlett-Packard Hull B.V.
       Hewlett-Packard Immobilien GmbH
       Hewlett-Packard India Private Limited
       Hewlett-Packard India Sales Private Limited
       Hewlett-Packard Indigo B.V.
       Hewlett-Packard Indigo B.V. (France Branch)
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       Hewlett-Packard Indigo B.V. (Belgium Branch)
       Hewlett-Packard Indigo B.V. (Germany Branch)
       Hewlett-Packard Indigo B.V. (Italy Branch)
       Hewlett-Packard Indigo B.V. (U.K. Branch)
       Hewlett-Packard Indigo Ltd.
       Hewlett-Packard Industrial Printing Ltd.
       Hewlett-Packard Industrial Printing Solutions Europe BVBA
       Hewlett-Packard Informatikai Korlátolt Felelösségü Társaság
       Hewlett-Packard Information Technology R & D (Shanghai) Co. Ltd.
       Hewlett-Packard Inter-Americas
       Hewlett-Packard International B.V.
       Hewlett-Packard International Bank Public Limited Company
       Hewlett-Packard International GmbH
       Hewlett-Packard International LLC
       Hewlett-Packard International Pte Ltd
       Hewlett-Packard International Pte Ltd ,Taiwan Branch
       Hewlett-Packard International Sales Corporation B.V.
       Hewlett-Packard International Sàrl
       Hewlett-Packard International Sàrl, Abu Dhabi Branch
       Hewlett-Packard International Sàrl, Branch in Gorinchem
       Hewlett-Packard International Sàrl, Gulf Branch Office
       Hewlett-Packard International Trade B.V.
       Hewlett-Packard International Trade B.V. (Uganda Branch)
       Hewlett-Packard International Trade B.V. Branch Office Skopje
       Hewlett-Packard International Trade B.V., Albania Branch
       Hewlett-Packard International Trade B.V., Almaty Branch
       Hewlett-Packard International Trade B.V., Burkina Faso Branch
       Hewlett-Packard International Trade B.V., Commercial Representation Office, Oman
       Hewlett-Packard International Trade B.V., Ivory Coast Branch (Ivory Coast Branch)
       Hewlett-Packard International Trade B.V., Lebanon Branch
       Hewlett-Packard International Trade B.V., Libyan Branch CF
       Hewlett-Packard International Trade B.V., Libyan Branch CTS
       Hewlett-Packard International Trade B.V., Madagascar Branch
       Hewlett-Packard International Trade B.V., Mali Branch (Mali Branch)
       Hewlett-Packard International Trade B.V., Malta Branch
       Hewlett-Packard International Trade B.V., Palestine Branch
       Hewlett-Packard International Trade B.V., Saudi Arabian Branch
       Hewlett-Packard International Trade B.V., Saudi Arabian Branch - Al Khobar Sub-Branch
       Hewlett-Packard International Trade B.V., Saudi Arabian Branch - Jeddah Sub-Branch (Saudi Arabia
       Branch)
       Hewlett-Packard International Trade B.V., Saudi Arabian Branch - Riyadh Sub Branch
       Hewlett-Packard International Trade, Inc.
       Hewlett-Packard Investments, LLC
       Hewlett-Packard Ireland (Holdings) Ltd.
       Hewlett-Packard Ireland (Sales) Ltd
       Hewlett-Packard Ireland 1, Limited
       Hewlett-Packard Ireland Business Continuity Services Limited
       Hewlett-Packard Ireland Limited
       Hewlett-Packard ISE GmbH
       Hewlett-Packard ISE GmbH (Ukraine Representative Office)
       Hewlett-Packard Isle of Man, Ltd.
       Hewlett-Packard IT Services, Sociedad de Responsabilidad Limitada de Capital Variable
       Hewlett-Packard Italiana S.r.l.
       Hewlett-Packard Japan Holding B.V.
       Hewlett-Packard Japan, Ltd.
       Hewlett-Packard Jordan LLC
       Hewlett-Packard Jura B.V.
       Hewlett-Packard Kampen B.V.
       Hewlett-Packard Katwijk C.V.
       Hewlett-Packard Kells Manufacturing Limited Liability Company
       Hewlett-Packard Korea Ltd.
       Hewlett-Packard KSA Ltd
       Hewlett-Packard KSA Ltd., Qatar Branch
       Hewlett-Packard Laboratories Israel Ltd.
       Hewlett-Packard Laren B.V.
       Hewlett-Packard Latin America, LLC
       Hewlett-Packard Leasing Limited
       Hewlett-Packard Leasing Limited Pudong Branch
       Hewlett-Packard Leiden B.V.
       Hewlett-Packard Lelystad B.V.
       Hewlett-Packard Leman B.V.
       Hewlett-Packard Léman Sàrl
       Hewlett-Packard Limited
       Hewlett-Packard Limited (Isle of Man Branch)
       Hewlett-Packard Lisbon B.V.
       Hewlett-Packard Lisse B.V.
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       Hewlett-Packard Liverpool B.V.
       Hewlett-Packard London B.V.
       Hewlett-Packard LTE B.V.
       Hewlett-Packard LTE B.V. (Cayman Islands Branch)
       Hewlett-Packard Luxembourg Development S.à r.l.
       Hewlett-Packard Luxembourg Enterprises S.à r.l.
       Hewlett-Packard Luxembourg Enterprises, LLC
       Hewlett-Packard Luxembourg Holdings S.à r.l.
       Hewlett-Packard Luxembourg International S.à.r.l.
       Hewlett-Packard Luxembourg Investment S.à r.l.
       Hewlett-Packard Luxembourg Participations S.à.r.l.
       Hewlett-Packard Luxembourg S.C.A.
       Hewlett-Packard Lyon B.V.
       Hewlett-Packard Maasland C.V.
       Hewlett-Packard Maastricht B.V.
       Hewlett-Packard Macau Limited
       Hewlett-Packard Madrid B.V.
       Hewlett-Packard Maghreb S.A.R.L. Société à Responsabilité Limitée
       Hewlett-Packard Magyarország Kft.
       Hewlett-Packard Malaysia Technology Sdn. Bhd.
       Hewlett-Packard Manufacturing (Thailand) Co., Ltd.
       Hewlett-Packard Manufacturing Ltd
       Hewlett-Packard Marigalante Ltd.
       Hewlett-Packard Measurement Equipment Ltd.
       Hewlett-Packard MENA FZ - LLC
       Hewlett-Packard MENA FZ-LLC Libya Branch
       Hewlett-Packard Meppel B.V.
       Hewlett-Packard Mercator B.V.
       Hewlett-Packard Mercator Holding B.V.
       Hewlett-Packard Mergeco I, LLC
       Hewlett-Packard Mergeco II, LLC
       Hewlett-Packard Mergeco III, LLC
       Hewlett-Packard Mergeco IV, LLC
       Hewlett-Packard Mergeco V, LLC
       Hewlett-Packard Mergeco VI, LLC
       Hewlett-Packard Mexico S. de R.L. de C.V.
       Hewlett-Packard Meyrin Sàrl
       Hewlett-Packard Middelburg B.V.
       Hewlett-Packard Middle East FZ-LLC
       Hewlett-Packard Milan B.V.
       Hewlett-Packard MIS Slovakia s.r.o.
       Hewlett-Packard Moçambique, Limitada
       Hewlett-Packard Mont Blanc B.V.
       Hewlett-Packard Mont Blanc B.V. (Singapore Branch)
       Hewlett-Packard MS, Inc.
       Hewlett-Packard Multimedia Sdn. Bhd.
       Hewlett-Packard Munich B.V.
       Hewlett-Packard Namibia (Pty) Ltd
       Hewlett-Packard Nederland B.V.
       Hewlett-Packard Nederland Investments B.V.
       Hewlett-Packard Nevada B.V.
       Hewlett-Packard New Zealand
       Hewlett-Packard New Zealand and Australia Pty. Ltd
       Hewlett-Packard New Zealand and Australia Pty. Ltd.
       Hewlett-Packard Nice B.V.
       Hewlett-Packard Noordwijk B.V.
       Hewlett-Packard Nordic BVBA
       Hewlett-Packard Nordic Holding AB
       Hewlett-Packard Norge AS
       Hewlett-Packard Norge Holding AS
       Hewlett-Packard Of Jamaica Limited
       Hewlett-Packard Operations Mexico, S. de R.L. de C.V.
       Hewlett-Packard Outsourcing España, S.L.
       Hewlett-Packard OY
       Hewlett-Packard OY, Eesti Filiaal
       Hewlett-Packard Pakistan (Private) Limited
       Hewlett-Packard Panama, S. de R.L.
       Hewlett-Packard Paris B.V.
       Hewlett-Packard Penang, LLC
       Hewlett-Packard Peru S.R.L.
       Hewlett-Packard Philippines Corporation
       Hewlett-Packard Plano, LLC
       Hewlett-Packard Poland, LLC
       Hewlett-Packard Polska Sp. z o.o.
       Hewlett-Packard Portofino B.V.
       Hewlett-Packard Portugal Lda.
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       Hewlett-Packard Procesos de Negocio España, S.L.
       Hewlett-Packard Products B.V.
       Hewlett-Packard Products C.V.
       Hewlett-Packard Products CV 1, LLC
       Hewlett-Packard Products CV 2, LLC
       Hewlett-Packard PSF Luxembourg S.à r.l.
       Hewlett-Packard Puerto Rico B.V.
       Hewlett-Packard Puerto Rico B.V.
       Hewlett-Packard Puerto Rico B.V., LLC
       Hewlett-Packard Qatar S.P.C.
       Hewlett-Packard Réalisation SNC
       Hewlett-Packard Regional Sales Pte. Ltd.
       Hewlett-Packard Rome B.V.
       Hewlett-Packard Rotterdam B.V.
       Hewlett-Packard S.R.L.
       Hewlett-Packard s.r.o.
       Hewlett-Packard Saleve B.V.
       Hewlett-Packard Salzburg B.V.
       Hewlett-Packard Salzburg Holding B.V.
       Hewlett-Packard SARL
       Hewlett-Packard Services Saudi Arabia Company
       Hewlett-Packard Servicios España S.L.
       Hewlett-Packard Servicios Profesionales, S. de R.L. de C.V.
       Hewlett-Packard SIA
       Hewlett-Packard Singapore (Private) Limited
       Hewlett-Packard Singapore (Sales) Pte. Ltd.
       Hewlett-Packard Singapore Holdings Pte. Ltd.
       Hewlett-Packard Sino Investment Holdings
       Hewlett-Packard Sino Investments (II) Co., Limited
       Hewlett-Packard Sino Investments (III) Co., Limited
       Hewlett-Packard Sino Investments (IV) Co., Limited
       Hewlett-Packard Sino Investments Company, Ltd
       Hewlett-Packard Sittard B.V.
       Hewlett-Packard Slovakia s.r.o.
       Hewlett-Packard Soest B.V.
       Hewlett-Packard Software, LLC
       Hewlett-Packard Solutions Company
       Hewlett-Packard Solutions Delivery, Ltd.
       Hewlett-Packard South Africa (Proprietary) Limited
       Hewlett-Packard South East Asia
       Hewlett-Packard South Pacific Pty Ltd
       Hewlett-Packard Start B.V.
       Hewlett-Packard State & Local Enterprise Services, Inc.
       Hewlett-Packard Strasbourg B.V.
       Hewlett-Packard Sunnyvale B.V.
       Hewlett-Packard Sverige AB
       Hewlett-Packard Sverige Holding AB
       Hewlett-Packard Taiwan Ltd.
       Hewlett-Packard Technológiai Licenszek és Licensznyújtó Kft.
       Hewlett-Packard Technology (Shanghai) Co. Ltd.
       Hewlett-Packard Technology Center, Inc.
       Hewlett-Packard Technology Holdings I
       Hewlett-Packard Technology Licenses and Licensing Limited Liability Company, Luxembourg
       Branch Office
       Hewlett-Packard Teknoloji Çözümleri Limited Şirketi
       Hewlett-Packard Teknoloji Çözümleri Ltd. Şti. Ankara Şubesi
       Hewlett-Packard Texel B.V.
       Hewlett-Packard The Hague B.V.
       Hewlett-Packard Trading (Shanghai) Co. Ltd.
       Hewlett-Packard Trading Sàrl
       Hewlett-Packard Trading Sàrl, Gulf Region Marketing & Competence Center (Bahrain Branch)
       Hewlett-Packard Trading Sàrl, Representative office in Ukraine (Ukraine Rep Office)
       Hewlett-Packard U-IT Solutions Limited Liability Company
       Hewlett-Packard UK Enterprises (1) Limited
       Hewlett-Packard Ulm B.V.
       Hewlett-Packard United B.V.
       Hewlett-Packard Utrecht B.V.
       Hewlett-Packard Velp B.V.
       Hewlett-Packard Venezuela C.C.A.
       Hewlett-Packard Venezuela, S.R.L.
       Hewlett-Packard Venice B.V.
       Hewlett-Packard Venlo B.V.
       Hewlett-Packard Vietnam Ltd.
       Hewlett-Packard Vietnam Software and Information Technology Company Limited
       Hewlett-Packard Vision B.V.
       Hewlett-Packard Vision II B.V.
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       Hewlett-Packard Vision III B.V.
       Hewlett-Packard Vision Ltd
       Hewlett-Packard Vision Luxembourg S.à r.l.
       Hewlett-Packard Volendam B.V.
       Hewlett-Packard Weesp B.V
       Hewlett-Packard West Indies Limited
       Hewlett-Packard West Indies Ltd.
       Hewlett-Packard World Services Corporation
       Hewlett-Packard World Trade, LLC
       Hewlett-Packard Zaandam C.V.
       Hewlett-Packard Zermatt B.V.
       Hewlett-Packard Zurich B.V.
       Hewlett-Packard Zweite Vermögensverwaltungsgesellschaft mbH
       Hewlett-Packard Zwolle B.V.
       Hiflex AG
       Hiflex Corp.
       Hiflex GmbH
       Hiflex Poland Spółka Z Ograniczoną Odpowiedzialnością
       Hiflex Print Support N.V.
       Hiflex S.R.L.
       Hiflex Software GesmbH
       Hiflex U.K. Limited
       High Availability Systems Co., Ltd (formerly known as Nihon Tandem Systems K.K.)
       High Tech Services Insurance, Ltd.
       High Tech Services Risk Retention Group, Inc.
       HP Advanced Solutions Inc.
       HP AL Enterprise Services (France) SAS
       HP AL Enterprise Services (Germany) GmbH
       HP AL Enterprise Services Italia Srl
       HP Berlin LLC
       HP Botswana (Proprietary) Limited
       HP CDS - Customer Delivery Services Portugal, Lda
       HP Congo (Brazzaville) S.A.U.
       HP Cote d’Ivoire S.A.U.
       HP CRS (Belgium) BVBA/SPRL
       HP CRS (Denmark) ApS
       HP CRS (Finland) OY
       HP CRS (France) SAS
       HP CRS (Germany) GmbH
       HP CRS (Sweden) AB
       HP CRS (Switzerland) GmbH
       HP CRS (UK) Limited
       HP CRS Norway AS
       HP Enterprise Services (Hong Kong) Limited
       HP Enterprise Services Australia Pty Ltd
       HP Enterprise Services Bahrain QSTP-B
       HP Enterprise Services Bahrain W.L.L.
       HP Enterprise Services BPA Pty Ltd
       HP Enterprise Services Consolidated Holding Pty Ltd
       HP Enterprise Services Consolidated Pty Ltd
       HP Enterprise Services de El Salvador, Limitada de Capital Variable
       HP Enterprise Services Defence & Security UK Ltd
       HP Enterprise Services Delivery (Wuhan) Co., Ltd.
       HP Enterprise Services Energy Italia S.r.l.
       HP Enterprise Services Financial Pty Ltd
       HP Enterprise Services for Banking Markets Italia S.r.l.
       HP Enterprise Services France S.A.S.
       HP Enterprise Services Italia S.r.l.
       HP Enterprise Services Portugal, Lda.
       HP Enterprise Services Queensland Pty Ltd
       HP Enterprise Services UK Ltd
       HP Enterprise Services, LLC
       HP Facilities Services (Malaysia) Sdn.Bhd.
       HP Financial Services (Australia) Pty Limited
       HP Financial Services (Chile) Limitada
       HP Financial Services (Colombia) LLC Sucursal Colombia
       HP Financial Services (Colombia), LLC
       HP Financial Services (Hong Kong) Limited
       HP Financial Services (Japan) K.K.
       HP Financial Services (New Zealand)
       HP Financial Services (Singapore) Pte Limited, Taiwan Branch
       HP Financial Services (Singapore) Pte Ltd
       HP Financial Services Argentina S.R.L.
       HP Financial Services Arrendamento Mercantil S.A.
       HP Financial Services Asset Management Services B.V.
       HP Financial Services Brasil Ltda.
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       HP Financial Services Company (Korea)
       HP Financial Services Company (Puerto Rico), Corp.
       HP Financial Services GmbH
       HP Financial Services GmbH, Zweigniederlassung Osterreich (Austria Branch)
       HP Financial Services International Holdings Company
       HP Financial Services Latin America Holding, LLC
       HP Financial Services Netherlands B.V.
       HP Financial Services Poland Sp. Z.o.o.
       HP Financial Services S.R.L.
       HP Financial Services Venezuela, C.C.A.
       HP Financial Services Venezuela, S.R.L.
       HP Financial Services, SPRL, Italy Branch (Italy Branch)
       HP Finanz Service Einkauf GmbH
       HP Finanz Service GmbH
       HP Information Security UK Limited
       HP Leasing (B) Sdn Bhd
       HP Melodeo, Inc.
       HP Mid-Market Solutions GmbH
       HP Munich LLC
       HP Operations Venezuela S.R.L.
       HP Prev - Sociedade Previdenciaria Privada
       HP Sénégal S.A.U.
       HP Services (Singapore) Pte. Ltd.
       HP Super Fund (formerly known as Compaq Superannuation Pty. Ltd.)
       HP WebOS, LLC
       HPDirect, Inc.
       HP-E IT Solutions PLC
       HPFS Brazil Holdings B.V.
       HPFS Canada Holdings B.V.
       HPFS Funding B.V.
       HPFS Global Holdings I, LLC
       HPFS Global Holdings II, LLC
       HPFS Global Holdings III, LLC
       HPFS International Holdings I C.V.
       HPFS International Holdings II C.V.
       HPFS International Holdings III C.V.
       HPFS International Holdings IV B.V.
       HPFS Korea Holdings Limited
       HPFS Leasing (Thailand) Company Limited
       HPFS Rental S.R.L.
       HPFS Veere B.V.
       HPFS Venture Holdings Limited
       HPIB ISRAEL BRANCH
       HP-OMS (Israel) Limited
       HPQ Holdings, LLC
       HPWT Holdings, Inc.
       Hua Pu Information Technology Co. Ltd.
       Huawei-3Com (Malaysia) Sdn. Bhd.
       Huawei-3Com (South Africa) (Propprietary) Limited
       HX-Streamlining GmbH
       Ibrix, Inc.
       iConclude LLC
       IJ-Sight Software B.V.
       IMD, Technical Services B.V.
       India Acquisition Corporation
       Indigo America, Inc.
       Indigo Graphics Systems B.V.
       Information Systems Solutions (Pty) Ltd.
       Insurance Software Solutions Corp.
       Inter Initia - Comércio Internacional E Serviçios Limitada
       Interwoven AB
       Interwoven Australia Pty Limited
       Interwoven BV
       Interwoven Canada, Inc.
       Interwoven GmbH
       Interwoven Hong Kong Ltd
       Interwoven Korea Inc
       Interwoven S.r.l.
       Interwoven Sàrl
       Interwoven Software Pte Ltd
       Interwoven Software Services India Pvt Ltd
       Interwoven Software SL
       Interwoven UK Limited
       Interwoven, Inc.
       Interwoven, Inc.
       Interwoven, Inc., Taiwan Branch
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       Iron Mountain Digital KK
       Istiservice S.r.l.
       Itellium Systems & Services GmbH
       Japan Network System
       JS Engineering
       Kanga Acquisition L.L.C.
       Keisai Asociados, C.A.
       Kensington Resources Inc.
       Kintana GmbH
       Kintana SARL
       Knife Acquisition Corporation
       Knightsbridge Solutions (UK) Limited
       Knightsbridge Solutions Holdings Corp.
       Knightsbridge Solutions, LLC
       Knowledge Technology Limited
       Knowlix Corporation
       Lakers Acquisition Corporation
       Lancare UK Limited
       Lansource Technologies Company
       Lanworks Technologies Company
       LeftHand Networks (UK), Inc
       Lefthand Networks (UK), Inc.
       Lefthand Networks, Inc.
       Leopard Merger Corporation
       Limited Liability Company "Hewlett-Packard UA"
       Limited Liability Company “E.D.S. Ukraine"
       Limited Liability Partnership “Hewlett-Packard (K)”
       Lomba Finance B.V.
       Lomba Holding B.V.
       Long Success Overseas Limited
       Longsand Limited
       Loran International Technologies, Inc.
       Loran Network Management Ltd.
       Loran Network Systems, Inc.
       Loran Network Systems, LLC.
       Loran Networks Management Limited
       Loran Technologies, Inc.
       M&DY Corporation (Pty) Ltd
       Mars Landing Corporation
       Maxspeed International, Inc.
       MbrokeR (India) Private Limited
       MedAs Pension Trustees Ltd.
       Media Accounting Services Limited
       Mercury Government Solutions, Inc.
       Mercury Interactive (Australia) Pty. Limited
       Mercury Interactive (Europe) B.V.
       Mercury Interactive (Europe) B.V. (Belgium Branch)
       Mercury Interactive (HK) Ltd. (Beijing Representative Office)
       Mercury Interactive (Hong Kong) Limited
       Mercury Interactive (Israel) Ltd
       Mercury Interactive (Korea) Co. Ltd.
       Mercury Interactive (Singapore) Pte Ltd- India Liaison Office
       Mercury Interactive (Singapore) Pte. Ltd.
       Mercury Interactive (Singapore) Pte. Ltd. - Shanghai Representative Office
       Mercury Interactive (Switzerland) GmbH
       Mercury Interactive (UK) Limited
       Mercury Interactive A/S in liquidation
       Mercury Interactive Austria Ges.m.b.H.
       Mercury Interactive B.V.
       Mercury Interactive Brazil Limited
       Mercury Interactive Canada Co.
       Mercury Interactive France SAS
       Mercury Interactive Freshwater, Inc.
       Mercury Interactive GmbH
       Mercury Interactive Japan KK
       Mercury Interactive Luxembourg S.A.
       Mercury Interactive Mexico S. de R.L. de C.V.
       Mercury Interactive Nordic AB
       Mercury Interactive Nordic AB, Norwegian Branch (Norway Branch)
       Mercury Interactive Oy
       Mercury Interactive Partners, L.L.C.
       Mercury Interactive Poland SP zoo
       Mercury Interactive S.r.L.
       Mercury Interactive SA (Pty) Limited
       Mercury Interactive Sales and Services India Private Limited
       Mercury Interactive Ventures, L.P.
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       Mercury Interactive, LLC
       Mercury Interactive, S.L. Unipersonal
       Meridio Holdings Limited
       Meridio Limited
       Meridio Management Limited
       Meridio Trustees Limited
       Meridio, Inc.
       Microcom Caribe, Inc.
       Microcom Communications (South Aftrica) Pty Ltd.
       Microcom Systems, Inc.
       MicroLink, LLC
       Mimosa Systems, Inc.
       MNP Sales B.V.
       Narwhal Acquisition Corporation
       Ncorp Limited
       Neoware (Shanghai) Inc.
       Neoware Austria GmbH
       Neoware GmbH
       Neoware Inc - Australia Branch
       Neoware Investments, Inc.
       Neoware Licensing, Inc.
       Neoware Southern Europe SAS
       Neoware Systems B.V.
       Neoware UK Holding Limited
       Neoware UK Limited
       Neoware, Inc.
       Netfocus, S.L.
       Netman ApS
       Neurodynamics Limited
       New Business System
       NHIC, Corp.
       Nholdings Limited
       Nihon HP Nin-I Kumiai
       Novadigm Deutschland GmbH
       Novadigm Europe Sàrl
       Novadigm UK Ltd
       Novadigm, Inc.
       Nur do Brasil Ltda
       NUR Europe NV
       Nur Japan Ltd
       October Acquisition Corporation
       Odyssey Acquisition Corporation
       Oel Systems (Pty) Ltd.
       Omni Merger Corporation
       One Shot Color
       OOO "3Kom"
       OOO "Hewlett-Packard Factory"
       OOO "Hewlett-Packard RUS"
       Opelin Inc.
       Opelin Laboratories Private Limited
       Opsware Japan Co. Ltd.
       Opsware Australia Pty Ltd
       Opsware B.V.
       Opsware France EURL
       Opsware Germany GmbH
       Opsware Hong Kong Limited
       Opsware Inc.
       Opsware International Holding Corp.
       Opsware Singapore Pte. Ltd.
       Opsware Singapore Pte. Ltd. (Korea Branch)
       Opsware Singapore Pte. Ltd. - Taiwan Branch
       Opsware Software S.R.L.
       Opsware Switzerland GmbH
       Opsware UK Limited
       Optimost Limited
       Optimost LLC
       Orca Acquisition Corporation
       Outerbay Technologies Europe Limited
       Outerbay Technologies Inc
       Outerbay Technologies Private Limited
       P.T. Electronic Data Systems Indonesia
       Palm Advantage Mobile Computing Technology (Shanghai) Co. Ltd.
       Palm Asia Pacific Limited
       Palm Asia Pacific Limited (Shanghai Representative Office)
       Palm Asia Pacific Limited, Beijing Representative Office
       Palm Asia Pacific Limited, Taiwan Branch
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       Palm Australasia Pty Limited
       Palm Benelux B.V.
       Palm Canada Co.
       Palm Chile Limitada
       Palm Colombia Limitada
       Palm Comércio de Aparelhos Eletrônicos Ltda.
       Palm Computing Mexico, Sociedad de Responsabilidad Limitada de Capital Variable
       Palm Europe Limited
       Palm Europe Limited Sucursal en Espana
       Palm France SAS
       Palm Geneva SARL
       Palm Germany GmbH
       Palm Global Operations Limited
       Palm Ireland Investment
       Palm Italy S.r.l.
       Palm Latin America, Inc.
       Palm Latin America, Inc. (Sucursal Argentina)
       Palm Singapore Pte Ltd, India Liaison Office
       Palm Singapore Pte. Ltd.
       Palm South America, LLC
       Palm Trademark Holding Company, LLC
       Palm, Inc.
       Peregrine Bodha, Inc.
       Peregrine Bridge Subsidiary, Inc.
       Peregrine California Padres, Inc.
       Peregrine Diamond, Inc.
       Peregrine Federal Systems Inc.
       Peregrine Networks Canada, Inc.
       Peregrine Nova Scotia Company
       Peregrine Ontario Blue Jays, Inc.
       Peregrine Ottawa Nova Scotia Company
       Peregrine Remedy Cayman, Ltd.
       Peregrine Remedy, Inc.
       Peregrine Systems A/S
       Peregrine Systems AB
       Peregrine Systems Argentina, SA
       Peregrine Systems AS
       Peregrine Systems Australia Pty Limited
       Peregrine Systems B.V.
       Peregrine Systems de Mexico S. de R.L. de C.V.
       Peregrine Systems Development S.A.S.
       Peregrine Systems do Brazil Limitada
       Peregrine Systems Global Limited
       Peregrine Systems GmbH
       Peregrine Systems GmbH
       Peregrine Systems International, Inc.
       Peregrine Systems KK
       Peregrine Systems Limited
       Peregrine Systems Limited - Hong Kong
       Peregrine Systems Ltd.
       Peregrine Systems New Zealand Ltd.
       Peregrine Systems of Canada, Inc.
       Peregrine Systems Operations Limited (Ireland)
       Peregrine Systems OY
       Peregrine Systems Private Ltd
       Peregrine Systems S.A.S.
       Peregrine Systems SA
       Peregrine Systems SPRL
       Peregrine Systems Srl
       Peregrine Systems, Inc.
       Peregrine Systems, Inc. (French Branch)
       Performant, Inc.
       Perlina Corporation N.V.
       Persist Technologies, Inc.
       PFE Investments Ltd.
       Pipe Beach AB
       Pipebeach Brasil Ltda
       Planning Consultancy Limited
       Polyserve Limited
       Polyserve, Inc.
       Premida-Comércio, Gestao e Serviços, Lda
       Previq - Sociedade de Previdência Privada
       Priam Acquisition Corporation
       Prolin Asia Pacific (MSC) Sdn Bhd
       Prolin Automation B.V.
       PT Hewlett-Packard Finance Indonesia
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       PT. Hewlett-Packard Indonesia
       Pu Tian Optical Mechanical Electronic Systems Integration Co. Ltd.
       RelQ Europe Limited
       RelQ France SAS
       RelQ Software Incorporated
       RelQ Software Private Limited
       Remdy Software Solutions BV
       Remedy (Switzerland) GmbH
       Remedy Acquisition Corp
       Remedy Argentina S.A.
       Remedy Canada, Ltd
       Remedy do Brazil Ltda.
       Remedy France Holding SAS
       Remedy FSC, Ltd
       Remedy GmbH (Germany)
       Remedy Hong Kong Ltd
       Remedy International Limited
       Remedy KK
       Remedy Pte. Ltd.
       Remedy Pty. Ltd.
       Remedy SARL
       Remedy Software AB
       Remedy Software Ireland Limited
       Remedy Software Solutions BV (Netherlands)
       Remedy Spain SL
       Remedy Srl
       Remedy UK Limited
       Representative Office "Hewlett-Packard International Trade B.V."
       Rio Acquisition Corporation
       RLX Technologies, Inc.
       Runway Corporation N.V.
       S.P.I. Dynamics Incorporated
       Saab Acquisition Corporation
       Saber Holdings LLC
       Saber Solutions, Inc.
       SafeGuard Services LLC
       Sapura Systems Malaysia Sdn. Bhd.
       Schnellpress B.V.
       Scicon Limited
       Scicon Limited - Oman Branch (Oman Branch)
       Scitex Vision America, Inc.
       Scitex Vision Deutschland GmbH
       Scitex Vision France S.A.R.L.
       Scitex Vision Hong Kong Limited
       Scitex Vision Iberica, S.L.
       Scitex Vision International Trading (Shanghai) Co. Ltd.
       Scitex Vision Italia Srl
       Scitex Vision UK Limited
       Servicios de Telefonía y Back-Office Avanzados S.L.U.
       Shanghai Hewlett-Packard Co. Ltd (Dalian Branch)
       Shanghai Hewlett-Packard Co. Ltd.
       Shanghai Hewlett-Packard Co., Ltd (Chongqing Branch)
       Shanghai Hewlett-Packard Co., Ltd. (Beijing Branch)
       Shanghai Hewlett-Packard Co., Ltd. Software Service Branch (Zhangjiang Branch)
       SHL Systemhouse Europe Limited
       SHL Technology Solutions Limited
       Shoreline Investment Management Company
       Silver Net Software (Shanghai) Co., Ltd.
       Silverwire Germany GmbH
       Silverwire GmbH
       Silverwire Holding AG
       Silverwire Sàrl
       Silverwire, Inc.
       Skyhawk Acquistion Corporation
       Societe Civile Immobiliere (SCI) Parc du Bois Briard (France)
       Softsound Limited
       Software Security Assurance International, Inc. USA filial Sweden
       Solange Corporation N.V.
       Sourcespring Limited
       Spartan Funding Company
       Speech Web AB
       Spiritguide Limited
       Spiritmodel Limited
       StorageApps Limited
       StorageApps, Inc.
       StrataVia Corp.
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       Stratavia Limited
       Stratify, Inc.
       Suzhou Hewlett-Packard Information Service Company Limited
       S-Vision de Mexico, S.A. de C.V.
       Synstar (USA) LLC
       Synstar Business Continuity Limited
       Synstar Computer Service GmbH (Austria Branch)
       Synstar Computer Services Europe S.A.
       Synstar Computer Services GmbH
       Synstar Computer Services Holdings Limited
       Synstar Computer Services UK Trustees Limited
       Synstar Data Management GmbH
       Synstar Desktop Management Limited
       Synstar Europe
       Synstar Holdings Ltd
       Synstar International Ltd.
       Synstar Limited
       Synstar Staff Ownership Participation Plan
       Systematics GmbH
       Systematics Integration Limited
       Systematics Network Services GmbH
       Systems Designers Limited
       Systems Testing Associates Ltd.
       Systems Testing Associates Ltd. (UK Branch)
       Systinet Corporation
       Systinet France SAS
       Systinet Nederland B.V.
       Systinet S.R.O.
       SysView
       Tabblo, Inc.
       TAC Technologies (Pty) Ltd.
       Talking Blocks, Inc.
       Tall Tree Insurance Company
       Tandem Computer Systems Sdn Bhd
       Tandem Computers
       Tandem Computers (Hungary) Incorporated
       Tandem Computers Credit Corporation
       Tandem Computers Export Corporation
       Tandem Computers FSC, Inc.
       Tandem Computers Hungaria KKT
       Tandem Computers Inc.
       Tandem Computers India Ltd.
       Tandem Computers International (Thailand) Limited
       Tandem Computers International Inc, (Thailand Branch)
       Tandem Computers International Inc, Philippines
       Tandem Computers International Incorporated
       Tandem Computers Marketing, Inc.
       Tandem Laboratories Israel Ltd.
       Tandem Taiwan Incorporated
       Tanto Ltd.
       Techink International Pte. Ltd.
       TechInk International (Proprietary) Limited
       TechINK International B.V.
       TechInk Manufacturing (Pty) Ltd.
       Technologies et Participations Immobilieres Sarl
       Technologies et Participations SAS
       Technology Employee Services Mexico, S. de R.L. de C.V.
       Tefensoft, Inc.
       Tefensoft, Ltd
       Telco Research Corp
       TH Consulting (India) Private Limited
       The Branch of Hewlett-Packard International Trade B.V. in the Republic of Azerbaijan
       The Feld Group, Inc.
       The Representative office of HEWLETT-PACKARD EUROPE B.V./ THE NETHERLANDS/
       in Moscow (Russia Rep. Office)
       The Technology Partners S.r.l.
       Three C Morocco SARL
       Three Par Data Systems Private Limited
       Tianjin Hewlett-Packard Critical Facilities Design, Engineering and Construction Co., Ltd.
       Time Systems Integrator
       TippingPoint Holdings, Inc.
       TippingPoint Holdings, Inc. (Japan Branch)
       TippingPoint Technologies Europe B.V.
       TippingPoint Technologies GmbH
       TippingPoint Technologies, Inc (Singapore Branch)
       TippingPoint Technologies, Inc.
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                                   TippingPoint Technologies, Inc. - Netherlands Branch
                                   TMSI, Inc.
                                   Tower Software (NZ) Limited
                                   Tower Software (UK) Limited
                                   Tower Software Corporation
                                   Tower Software Engineering Pty Ltd
                                   Triaton Asia Pte Ltd
                                   Triaton do Brasil Ltda
                                   Triaton France SAS
                                   Triaton GmbH
                                   Triaton Limited
                                   Triaton N.A., Inc.
                                   Tribune Acquisition Corporation
                                   Trinagy, Inc. (California)
                                   Trulogica, Inc.
                                   Trusco Services, Inc.
                                   Trustgenix, Inc.
                                   TSB Acquisition Corp
                                   TSB International Pty Ltd
                                   Twinsoft Beteiligungs GmbH
                                   Twinsoft Gmbh & Co. KG Gesellschaft fur Softwareentwicklung
                                   Twinsoft SA
                                   Twinsoft Scandinavia ApS
                                   Twinsoft UK Limited
                                   UAB Hewlett-Packard
                                   United States Opsware Beijing Representative Office
                                   Universal Money Systems Limited
                                   Verity Benelux B.V.
                                   Verity Deutschland GmbH
                                   Verity France SARL
                                   Verity GB Limited
                                   Verity Italia S.r.l.
                                   Verity Luxembourg S.à r.l.
                                   Verity Mexico S. De R.L. De C.V.
                                   Verity Nordic AB
                                   Verity Worldwide Limited
                                   Verity, Inc.
                                   Vertica Securities Corporation
                                   Vertica Systems, Inc.
                                   Virage Europe Limited
                                   Virage, Inc.
                                   Vistorm Holdings Limited
                                   Vistorm Trustees Limited
                                   Voodoo Computers, Ltd.
                                   W.W. Investment Holdings Pte Ltd
                                   W.W. Real Estate & Development Pte Ltd
                                   Wendover Financial Services Corporation
                                   Wendover Funding, Inc.
                                   White House Consulting (Pty) Ltd.
                                   White House Midrange Services (Pty) Ltd.
                                   White House Technologies (Pty) Ltd.
                                   Whole Grains Acquisition Corporation
                                   Wide Format Printing, S.A. de C.V.
                                   Wolsingvale Limited
                                   WTAF, LLC
                                   W-Wide Offshore Ventures Pte Ltd
                                   X-team Limited
                                   Yosemite Acquisition Corporation
                                   Young Wood IT Group B.V.
                                   Zantaz Canada Inc
                                   Zantaz UK Limited
                                   Zantaz, Inc.
                                   ZAO Compaq Computer
                                   ZAO Compaq Computers
                                   ZAO Hewlett-Packard A.O.

73   LENOVO GROUP LIMITED                                                                        2/27/2018
                                   BEIJING LENOVO SOFTWARE LIMITED
                                   BEIJING LENOVO TECHNOLOGY LIMITED
                                   CHENGDU LENOVO INFORMATION TECHNOLOGY LIMITED
                                   HEIFEI LCFC ELECTRONICS TRADING CO LTD
                                   HEIFEI LCFC INFORMATION TECHNOLOGY CO LTD
                                   LC FUTURE CENTER LIMITED
                                   LCFC (HEFEI) ELECTRONICS TECHNOLOGY CO LTD
                                   LENOVO (ASIA PACIFIC) LIMITED
                                   LENOVO (AUSTRALIA & NEW ZEALAND) PTY LIMITED
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       LENOVO (BEIJING) LIMITED
       LENOVO (BEIJING) LIMITED
       LENOVO (BELGIUM) BVBA
       LENOVO (CANADA) INC
       LENOVO (CHENGDU) LIMITED
       LENOVO (DENMARK) APS
       LENOVO (DEUTSCHLAND) GMBH
       LENOVO (EAST EUROPE/ASIA)
       LENOVO (FRANCE) SAS
       LENOVO (HONG KONG) LMIITED
       LENOVO (HUIYANG) ELECTRONIC INDUSTRIAL CO LTD
       LENOVO (INDIA) PRIVATE LIMITED
       LENOVO (ISRAEL) LTD
       LENOVO (ITALY) SRL
       LENOVO (JAPAN) LTD
       LENOVO (SCHWEIZ) GMBH
       LENOVO (SHANGHAI) CO LTD
       LENOVO (SHANGHAI) CO LTD
       LENOVO (SHANGHAI) ELECTRONICS TECHNOLOGY CO LTD
       LENOVO (SHENZHEN) ELECTRONIC CO LTD
       LENOVO (SINGAPORE) PTE LTD
       LENOVO (SOUTH AFRICA) (PTY) LIMITED
       LENOVO (SPAIN) SLU
       LENOVO (SWEDEN) AB
       LENOVO (THAILAND) LIMITED
       LENOVO (UNITED STATES) INC
       LENOVO (VENEZUELA) SA
       LENOVO (XIAN) LIMITED LLC
       LENOVO CENTRO TECNOLOGICO S DE RL DE CV
       LENOVO COMPUTER LIMITED
       LENOVO ENTERPRISE SOLUTIONS (SINGAPORE) PTE LTD
       LENOVO ENTERPRISE SOLUTIONS LTD
       LENOVO GERMANY HOLDING GMBH
       LENOVO GLOBAL TECHNOLOGY (ASIA PACIFIC) LIMITED
       LENOVO GLOBAL TECHNOLOGY (HONG KONG) DISTRIBUTION LIMITED
       LENOVO GLOBAL TECHNOLOGY HK LIMITED
       LENOVO GROUP LIMITED
       LENOVO HK SERVICES LIMITED
       LENOVO HOLDING COMPANY INC
       LENOVO HOLDINGS (BVI) LIMITED
       LENOVO INFORMATION PRODUCTS (SHENZHEN) CO LTD
       LENOVO INTERNATIONAL COOPERATIEF UA
       LENOVO IRELAND LIMITED
       LENOVO KOREA LLC
       LENOVO MANUFACTURING LIMITED
       LENOVO MANUFACTURING LIMITED (BVI)
       LENOVO MANUFACTURING LIMITED (HK)
       LENOVO MEXICO S DE RL DE CV
       LENOVO MIDDLE EAST AFRICA
       LENOVO MOBILE COMMUNICATION IMPRT AND EXPORT (WUHAN) CO LTD
       LENOVO MOBILE COMMUNICATION SOFTWARE (WUHAN) LIMITED
       LENOVO MOBILE COMMUNICATION TECHNOLOGY (BEIJING) LIMITED
       LENOVO MOBILE COMMUNICATION TECHNOLOGY HK LTD
       LENOVO MOBILE COMMUNICATION TECHNOLOGY LTD
       LENOVO MOBILE COMMUNICATION TRADING (WUHAN) LIMITED
       LENOVO MOBILE IMPORT & EXPORT (XIAMEN) LIMITED
       LENOVO MOBILE INTERNET TECHNOLOGY (XIAMEN) LIMITED
       LENOVO NEC HOLDINGS BV
       LENOVO PAKISTAN (PVT) LIMITED
       LENOVO PC HK LIMITED
       LENOVO PC INTERNATIONAL LIMITED
       LENOVO SAUDI ARABIA LIMITED
       LENOVO SYSTEMS TECHNOLOGY COMPANY LIMITED
       LENOVO TECHNOLOGY (UNITED KINGDOM) LIMITED
       LENOVO TECHNOLOGY BV
       LENOVO TECHNOLOGY SDN BHD
       LENOVO TECNOLOGIA (BRASIL) LTDA
       LENOVO US FULFILLMENT CENTER LLC
       MEDION AG
       MEDION ASIA PACIFIC LTD
       MEDION AUSTRALIA PLY LTD
       MEDION AUSTRIA GMBH
       MEDION BV
       MEDION ELCKRONIKA DOO
       MEDION ELECTRONICS LIMITED
       MEDION FRANCE SARL
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                                   MEDION IBERIA SL
                                   MEDION INTERNATIONAL (FAR EAST) LTD
                                   MEDION MOBILE GMBH
                                   MEDION NORDIE A/S
                                   MEDION SCHWEIZ ELECTRONICS AG
                                   MEDION SERVICE GMBH
                                   MEDION USA INC
                                   MEDITION MULTIMEDIA SERVICE GMBH
                                   MOTOROLA (BEIJING) MOBILITY TECHNOLOGIES COMMUNICATION COMPANY LIMITED
                                   MOTOROLA (WUHAN) MOBILITY TECHNOLOGIES COMMUNICATION COMPANY LIMITED
                                   MOTOROLA (WUHAN) MOBILITY TECHNOLOGIES OPERATING CENTER CO LTD
                                   MOTOROLA CHENNAI INDIA PRIVATE LTD
                                   MOTOROLA KOREA INC
                                   MOTOROLA MOBILITY ARGENTINA SA
                                   MOTOROLA MOBILITY AUSTRALIA PTY LTD
                                   MOTOROLA MOBILITY AUSTRIA GMBH
                                   MOTOROLA MOBILITY CANADA LTD
                                   MOTOROLA MOBILITY CHILE LTDA
                                   MOTOROLA MOBILITY CHINA HOLDING LIMITED
                                   MOTOROLA MOBILITY COLUMBIA SAS
                                   MOTOROLA MOBILITY COMERCIO DE PRODUTOS ELETRONICOS LTDA
                                   MOTOROLA MOBILITY ESPANA SL
                                   MOTOROLA MOBILITY FRANCE SAS
                                   MOTOROLA MOBILITY GERMANY GMBH
                                   MOTOROLA MOBILITY GLOBAL HOLDINGS LIMITED
                                   MOTOROLA MOBILITY GREECE
                                   MOTOROLA MOBILITY HOLDINGS BV
                                   MOTOROLA MOBILITY HOLDINGS LLC
                                   MOTOROLA MOBILITY HONG KONG LIMITED
                                   MOTOROLA MOBILITY INDIA PRIVATE LTD
                                   MOTOROLA MOBILITY INTERNATIONAL CAPITAL LLC
                                   MOTOROLA MOBILITY INTERNATIONAL SALES LLC
                                   MOTOROLA MOBILITY ITALY SL
                                   MOTOROLA MOBILITY JAPAN INC
                                   MOTOROLA MOBILITY LLC
                                   MOTOROLA MOBILITY NETHERLANDS ONE COOPERATIEF UA
                                   MOTOROLA MOBILITY NETHERLANDS TWO BV
                                   MOTOROLA MOBILITY PERU SRL
                                   MOTOROLA MOBILITY POLAND SP ZOO
                                   MOTOROLA MOBILITY SALES AND SERVICES INC
                                   MOTOROLA MOBILITY TAIWAN LTD
                                   MOTOROLA MOBILITY TECHNOLOGIES (CHINA) CO LTD
                                   MOTOROLA MOBILITY UK LTD
                                   MOTOROLA MOBILITY VENEZUELA SA
                                   MOTOROLA SINGAPORE PTE LTD
                                   MOTOROLA SOUTH AFRICA (PROPRIETARY) LTD
                                   NEC PERSONAL COMPUTERS LTD
                                   SCHENZHEN LENOVO OVERSEAS HOLDINGS LIMITED
                                   STONEWARE INC
                                   SUNNY INFORMATION TECHNOLOGY SERVICES INC

74   HOME DEPOT USA, INC.                                                                                   3/1/2018
                                   HOME DEPOT
